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                                                            CONFORMED COpy

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                     Counterc{aimant-in-intervention COMEDY CLUB, INC.
                   8
                                                        UNITED STATES DISTRICT COURT
                   9
                      CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
              101+-----------------,
              11 IMPROV WEST ASSOCIATES,      Case No. CV 11-07103 PSG (SHx)
                                                  Plaintiff,
              12
                                v.                                               rPrQ~osedlINTERVENORCOMEDY
                                                                             CLUB, NC,'S:                    .
                                                                                 (1) ANSWER TO COMPLAINT; AND
                                                                                 (2) COUNTERCLAIM FOR
                                                                                     DECLARATORY JUDGMENT.


                                                                                 Complaint filed:   August 29,2011




              23
    )-.----+1-".
                                                  Counterc1aimants,
     0::;1    24       i:
    8t)11    C'J
             §5 :
                 i      v.
   8~           l1\t1PROV WEST ASSOCIATES, a
   g~        ~6 $iaohE'foSrnliahr'limitehdll?apnlers!Iip, and
   -'en                +   t oug U me USlVe,
     ~
     ~.      ~7
              ,., n
                       I;~'-                          Counterdefendants.
     (.)      ""V       (:.
                        c::·

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                                                                    ANSWER-IN·INTERVENTION AND COUNTERCLAIM·iN·INTERVENTiON
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   1
     COMEDY CLUB, INC., a Louisiana
   2 corporation,
   3                             Counterclaimant,
   4           v.
   5 IMPROV WEST ASSOCIATES, a
     California limited Rartnership, and
   6 DOES 1 through 10 inclusive,
   7                             Counterdefendants.
   8
   9                    For its Answer to the Complaint by Improv West Associates
  10 ("Plaintiff'), Defendant-In-Intervention Comedy Club, Inc. ("CCI") admits, denies,
  11 and avers as follows:
  12
  13                                   "JURISDICTION AND VENUE"
  14
  15                    1.       Paragraph 1 of the Complaint contains mere legal argument and
  16 conclusions to which no response is required. To the extent a response is required,
  17 Defendant CCl denies the allegations in Paragraph 1 of the Complaint.
  18
  19                    2.       Paragraph 2 of the Complaint contains mere legal argument and
  20 conclusions to which no response is required. To the extent a response is required,
  21 Defendant CCI denies the allegations in Paragraph 2 of the Complaint.
  22
  23                    3.       Paragraph 3 of the Complaint contains mere legal argument and
  24 conclusions to which no response is required. To the extent a response is required,
  25 Defendant CCI denies the allegations in Paragraph 3 of the Complaint.
  26
  27
  28

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                                                 ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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   1                                              "PARTIES"
   2
   3                     4.       Defendant CCI lacks knowledge or information sufficient to form
   4 a belief as to the truth of the allegations in Paragraph 4 of the Complaint, and,
   5 accordingly, denies such allegations.
   6
   7                     5.       Defendant CCI lacks knowledge or information sufficient to form
   8 a belief as to the truth of the allegations in Paragraph 5 of the Complaint, and,
   9 accordingly, denies such allegations.
  10
  11                     6.       Defendant CCI lacks knowledge or information sufficient to form
  12 a belief as to the truth of the allegations in Paragraph 6 of the Complaint, and,
  13 accordingly, denies such allegations.
  14
  15                     7.       Defendant CCI lacks knowledge or information sufficient to form
  16 a belief as to the truth of the allegations in Paragraph 7 of the Complaint, and,
  17 accordingly, denies such allegations.
  18
 . 19                    8.       Defendant CCI lacks knowledge or information sufficient to form
  20 a belief as to the truth of the allegations in Paragraph 8 of the Complaint, and,
  21 accordingly, denies such allegations.
  22
  23                     9.       Defendant CCI lacks knowledge or information sufficient to form
  24 a belief as to the truth of the allegations in Paragraph 9 of the Complaint, and,
  25 accordingly, denies such allegations.
  26
  27
  28
        W02-WEST:2BOAI \404095448.4                    -3-
                                                  ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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   1                    10.      Paragraph 10 of the Complaint contains mere legal argument and
   2 conclusions to which no response is required. To the extent a response is required,
   3 Defendant CCldenies the allegations in Paragraph 10 of the Complaint.
   4
   5                    11.      Paragraph 11 of the Complaint contains mere legal argument and
   6 conclusions to which no response is required. To the extent a response is required,
   7 Defendant CCI denies the· allegations in Paragraph 11 of the Complaint.
   8
   9                                          "BACKGROUND"
  10
  11                    12.      Defendant eCI admits that Plaintiff has federal trademark
  12 registrations for "IMPROV" (Fed. Reg. Nos. 3691672 and 3691671), "IMPROV TV"
  13 (Fed. Reg. No. 3629101), and "IMPROV TV" (Fed. Reg. Nos. 3629101). Except as
  14 expressly admitted herein, Defendant CCI lacks knowledge or information sufficient
  15 to form a belief as to the truth of the remaining allegations in the first and last
  16 sentences of Paragraph 12 of the Complaint, and, accordingly, deny such allegations.
  17 Except as expressly admitted herein, Defendant CCI denies the remainder of the
  18 allegations in this paragraph, in particular because Plaintiff has licensed to Defendant
  19 CCI the exclusive right to use and allow others to use the term "improv" on the
  20 Internet and in connection with the www.improv.com website.
  21
  22                    13.      Defendant eCl admits that Plaintiff has federal trademark
  23 registrations for "IMPROV" (Fed. Reg. Nos. 3691672 and 3691671), "IMPROV TV"
  24 (Fed. Reg. No. 3629101), and "IMPROV TV" (Fed. Reg. Nos. 3629101). Defendant
  25 CCI further admits that Plaintiff has licensed to it the exclusive right to use and allow
  26 others to use the term "improv" on the Internet and in connection with the
  27 www.improv.com website. Except as expressly admitted herein, Defendant CeI
  28 lacks knowledge or information sufficient to form a belief as to the truth of the

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                                                 ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1 remaining allegations in the first and last sentences of Paragraph 13 of the Complaint,
   2 and, accordingly, deny such allegations.
   3
   4                    14.      Defendant CCI lacks knowledge or information sufficient to form
   5 a belief as to the truth of the allegations in the first three sentences of Paragraph 14 of
   6 the Complaint. Defendant CCI denies the allegations in the fourth sentence of
   7 Paragraph 14 of the C.omplaint because Plaintiff has licensed to it the exclusive right
   8 to use and allow others to use the tenil "improv" on the Internet and in connection
   9 with the www.improv.com website and Defendant CCI, in tum, has permitted certain
  10 of the other Defendants previously named in this action-with Plaintiffs knowledge
  11 and acquiescence-to use the term "improv" on the Internet.
  12
  13                    15.      Defendant eCI denies the allegations in Paragraph 15 of the
  14 Complaint because since 1999 Plaintiff has licensed to Defendant CeI the exclUSIve
  15 right to use and allow others to use the term "improv" on the Internet and in
  16 connection with the www.improv.com website.
  17
  18                    16.      Defendant CCI lacks knowledge or information sufficient to form
  19 a belief as to the truth of the allegations in Paragraph 16 of the Complaint, and,
  20 accordingly, denies such allegations.
  21
  22                    17.      Defendant CCI lacks knowledge or information sufficient to form
  23 a belief as to the truth ofthe allegations in Paragraph 17 of the Complaint, and,
  24 accordingly, denies such allegations.
  25
  26                    18.      Defendant CCllacks knowledge or information sufficient to form
  27 a belief as to the truth of the allegations in Paragraph 18 of the Complaint,and,
  28 accordingly, denies such allegations. Defendant CCI further denies the allegations in

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                                                 ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN·INTERVENTION
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   1 Paragraph 18 of the Complaint because Plaintiff has licensed to it the exclusive right
   2 to use and allow others to use the term "improv" on the Internet and in connection
   3 with the www.improv.com website and Defendant CCI, in tum, has permitted certain
   4 of the other Defendants previously named in this action-with Plaintiffs knowledge
   5 and acquiescence-to use the term "improv" on the Internet.
   6
   7                    19.     Defendant CCI lacks knowledge or information sufficient to form
   8 a belief as to the truth of the allegations in Paragraph 19 of the Complaint, and,
   9 accordingly, denies such allegations. Defendant CCI further denies the allegations in
  10 Paragraph 19 of the Complaint because Plaintiff has licensed to it the exclusive right
  11 to use and allow others to use the term "improv" on the Internet and in connection
  12 with the www.improv.com website and Defendant CCI, in tum, has permitted certain
  13 of the other Defendants previously named in this action-with Plaintiffs knowledge
  14 and acquiescence-to use the term "improv" on the Internet.
  15
  16                   20.      Defendant CCI lacks knowledge or information sufficient to form
 . 17 a belief as to the truth of the allegations in Paragraph 20 of the Complaint, and,
  18 accordingly, denies such allegations. Defendant CCI further denies the allegations in
  19 Paragraph 20 of the Complaint because Plaintiff has licensed to it the exclusive right
  20 to use and allow others to use the term "improv" on the Internet and in connection
  21 with the www.improv.com website and Defendant CCI, in tum, has permitted certain
  22 of the other Defendants previously named in this· action-with Plaintiffs knowledge
  23 and acquiescence-to use the term "improv" on the Internet.
  24
  25                   21.      Defendant CCllacks knowledge or information sufficient to form
  26 a belief as to the truth of the allegations in Paragraph 21 of the Complaint, and,
  27 accordingly, denies such allegations. Defendant CCI further denies the allegations in
  28 Paragraph 21 of the Complaint because Plaintiff has licensed to it the exclusive right

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                                                ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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   1 to use and allow others to use the term "improv" on the Internet and in connection
   2 with the www.improv.com website and Defendant CCI, in tum, has permitted certain
   3 of the other Defendants previously named in this action-with Plaintiffs knowledge
   4 and acquiescence-to use the term "improv" on the Internet.

   5
   6                    22.     Defendant CCI denies the allegations in Paragraph 22 qf the
   7 Complaint.
   8
   9                                   "FIRST CLAIM FOR RELIEF
  10                          [Trademark Infringement, 15 U.S.C. § 1114]"
  11
  12                   23.      Defendant CCI incorporates its responses to Paragraphs 1-22 of
  13 the Complaint.
  14
  15                   24.      Defendant CCI denies the allegations in Paragraph 24 of the
  16 Complaint.
  17
  18                   25.      Defendant CCI denies the allegations in Paragraph 25 of the
  19 Complaint.
  20
  21                   26.      Defendant CCI denies the allegations in Paragraph 26 of the
  22 Complaint.
  23
  24                                  "SECOND CLAIM FOR RELIEF
  25                     [False Designation of Origin, 15 U.S.C. § 1125(a)]"
  26
  27                   27.      D_efendant CCI incorporates its responses to Paragraphs 1-26 of
  28 the Complaint.

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                                                ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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                                       ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1                                   "FOURTH CLAIM FOR RELIEF
   2                                  [Common Law Unfair Competition]"
   3
   4                     36.      Defendant eCI incorporates its responses to Paragraphs 1-35 of
   5 the· Complaint.
   6
   7                     37.      Defendant eCI denies the allegations in Paragraph 37 of the
   8 Complaint.
   9
  10                     38.      Defendant eCI denies the allegations in Paragraph 38 of the
  11 Complaint.
  12
  13                     39.      Defendant eCI denies the allegations in Paragraph 39 of the
  14 Complaint.
 . 15
  16                                     "FIFTH CLAIM FOR RELIEF
  17                    [Violation of Cal. Bus. & Prof. Code § 17000 et seq.]"
  18
  19                     40.      Defendant eCI incorporates its responses to Paragraphs 1-39 of
  20 the Complaint.
  21
  22                     41.      Defendant eCI denies the allegations in Paragraph 41 o'f the
  23 Complaint.
  24
  25                     42.      Defendant eCI denies the allegations in Paragraph 42 of the
  26 Complaint.
  27
  28
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                                                  ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1                                      "PRAYER FOR RELIEF"
    2
    3                    1.     Defendant eCI denies that Plaintiff is entitled to the relief sought
    4 in Paragraph A ofthe Prayer For Relief.
    5
    6                   2.      Defendant eCI denies that Plaintiff is entitled to the relief sought
    7 in Paragraph B of the Prayer For Relief.
    8
    9                   3.      Defendant eCI denies that Plaintiff is entitled to the relief sought
   10 in Paragraph C of the Prayer For Relief.
   11
   12                   4.      Defendant eCI denies that Plaintiff is entitled to the relief sought
   13 in Paragraph D of the Prayer For Relief.
   14
   15                   5.       Defendant eCI denies that Plaintiff is entitled to the relief sought
   16 in Paragraph E of the Prayer For Relief.
   17
   18                   6.       Defendant eel denies that Plaintiff is entitled to the relief sought
   19 in Paragraph F of the Prayer For Relief.
   20
   21                                     AFFIRMATIVE DEFENSES
   22
   23                   As separate and distinct affirmative defenses to Plaintiffs allegations,
   24 Defendant CCI alleges as follows:
   25
   26
   27
   28
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                                                  ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN·INTERVENTION
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    1                                  FIRST AFFIRMATIVE DEFENSE
    2                                     [Failure To State A Claim]
    3
    4                    1.       Plaintiffs Complaint, and each purported claim for relief contained
    5 therein, fails to state a claim upon which relief may be granted.
    6
    7                                 SECOND AFFIRMATIVE DEFENSE
    8                                   [Consent And Acquiescence]
    9
   10                    2.       Plaintiffs Complaint, and each purported claim for relief contained
   11 therein, fails because Plaintiff has licensed to it the exclusive right to use and allow
   12 others to use the term "improv" on the Internet and in connection with the
   13 www.improv.com website and Defendant CCI, in tum, has permitted certain of the
   14 other Defendants previously named in this action-with Plaintiffs knowledge and
   15 acquiescence-to use the term "improv" on the Internet.
   16
   17                                  THIRD AFFIRMATIVE DEFENSE
   18                                       [Statute Of Limitations]
   19
   20                    3.       Plaintiffs Complaint, and each purported claim for relief contained
   21 therein, is barred by the applicable statute of limitations, including, but not limited to,
   22 CAL. CN. PROC. CODE § 337.
   23
   24                                 FOURTH AFFIRMATIVE DEFENSE
   25                                                [Laches]
   26
   27                    4.       Plaintiffs Complaint, and each purported claim for relief contained
   28 therein, is barred by the equitable doctrine of laches.

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                                                  ANSWER-iN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1                                   FIFTH AFFIRMATIVE DEFENSE
    2                                 [Failure To Previously Assert Claim]
   3
    4                    5.       Plaintiffs Complaint, and each purported claim for relief contained
    5 therein, is barred due to Plaintiffs failure to previously assert its pleaded claims in
    6 prior legal proceedings to which Plaintiffwas a party.
    7
    8                                   SIXTH AFFIRMATIVE DEFENSE
    9                                                [Waiver]
   10
   11                    6.       Plaintiffs Complaint, and each purported claim for relief contained
   12 therein, is barred by the doctrine of waiver.
   13
   14                                 SEVENTH AFFIRMATIVE DEFENSE
   15              [Bad Faith Commencement And Maintenance Of Litigation]
   16
   17                    7.       Plaintiffs Complaint, and each purported claim for relief contained
   18 therein, has been and continues to be frivolous, unreasonable, groundless, and
   19 asserted and maintained in bad faith.
  20
  21                                   EIGHTH AFFIRMATIVE DEFENSE
  22                                         [Additional Defenses]
  23
  24                     8.       Defendant CCl reserves the right to assert additional affirmative
  25 . defenses as it learns additional facts during the course of this action.
  26
  27
  28

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                                                  ANSWER·IN·INTERVENTION AND COUNTERCLAIM·IN·INTERVENTION
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    1 Dated: January _, 2012          SHEPPARD MULLIN RICHTER & HAMPTON LLP
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                                          ANSWER-IN-INTERVENTION AND COUNTERCLAIM-iN-INTERVENTION
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    1                                             COUNTERCLAIM
    2
    3                    For its Counterclaim against Counterdefendant Improv West Associates
    4 and Does 1 through 10 (collectively referred to as "Counterdefendants"),
    5 Counterclaimant-In-Intervention Comedy Club, Inc. ("CCI") avers the following:
    6
    7                                               THE PARTIES
    8
    9                    1.       At aU times pertinent to this action Counterclaimant CCI was and
   lOis a corporation organized and existing under the laws of Louisiana, with its principal
   11 offices in Metairie, Louisiana.
   12
   13                    2.       Upon information and belief, at all times pertinent to this action
   14 Counterdefendant IWA was and is a limited partnership organized and existing under
   15 the laws of California, with its principal offices in Los Angeles County, California.
   16
   17                    3.           The true names and capacities of the Counterdefendants named
   18 herein as Does 1 through 10, whether individual, corporate, associate or otherwise,
   19 are unknown to Counterclaimant CCI, who therefore sues said Counterdefendants by
  20 said fictitious names. Counterclaimant CCI is informed and believes, and thereon
   21 alleges, that each of the Doe Counterdefendants is legally responsible for the events
   22 and happenings hereinafter alleged and legally caused injury and damages
   23 proximately thereby to Counterclaimant CCI as herein alleged. Counterclaimant CCI
   24 will seek leave to amend this Complaint when the true names and capacities of the
   25 Doe Counterdefendants have been ascertained.
 . 26
   27
   28

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                                                     ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1                                     JURISDICTION AND VENUE
    2
    3                    4.       Counterclaimant CCI seeks a declaratory judgment regarding,
    4 among other things, its exclusive right to use certain trademarks and service marks
    5 claimed by Counterdefendants, some of which are federally registered with the United
    6 States Patent and Trademark Office, in connection with the www.improv.com website
    1 and on the Internet. Thus, this Court has original jurisdiction over that counterclaim
    8 pursuant to 28 U.S.C. §§ 1331, 1338,2201, and 2202. This counterclaim is so related
    9 to the claims asserted in Counterdefendant IWA's underlying Complaint that it forms
   10 part of the same case or controversy under Article III of the United States
   11 Constitution.
   12
   13                    5.       This Court also has supplemental jurisdiction over
   14 Counterclaimant CCl's declaratory judgment First Counterclaim For Relief because
   15 its counterclaim concerns Counterclaimant CCl's exclusive right to use the term
   16 "improv"-the            sa~e term   at issue in Counterdefendant IWA's underlying
   17 Complaint-in connection with the www.improv.comwebsiteandthelnternetmore
   18 broadly-the same media at issue in Counterdefendant IWA's underlying Complaint.
   19 Thus, Counterclaimant CCl's counterclaim is so related to the claims asserted in the
  20 underlying Complaint that it forms part of the same case or controversy under Article
  21 III of the United States Constitution and this Court has supplemental jurisdiction
  22 pursuant to 28 U.S.C. § 1367(a).
  23
  24                     6.       Venue is proper in this judicial district pursuant to 28 U.S.C. §
  25 1391 (b) because Counterdefendant IWA resides in this District and for the additional
  26 reason that Counterdefendant IWA has consented to venue by filing its underlying
  27 Complaint in this District.
  28

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                                                   ANSWER·IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1                                                FACTS
    2
    3 A.        Counterdefendant IWA's Lawsuits And Failure To Include
   "4           Counterclaimant CCI.
    5
    6                    7.       On August 23,2011, six days before filing this action on August
    7 29,2011, Counterdefendant IWA filed an action in the Los Angeles County Superior
    8 Court (Case No. BC468164, hereinafter referred to as "the Superior Court Action")
    9 that largely duplicates the present action it filed in this Court (hereinafter referred to
   10 as "the Federal Court Action"): [A true and correct copy of the Complaint in the
   11 Superior Court Action is attached hereto as EXHIBIT A and incorporated herein.]
   12 Four of the five Defendants named in the Federal Court Action (Robert Hartmann;
   13 Levity Productions LLC; Levity Entertainment Group, Inc.; and E-Comic Branding,
   14 Inc.) were also named as Defendants in Counterdefendant IWA's Superior Court
   15 Action.
   16
   17                    8.       In the Superior Court Action, Counterdefendant IWA asserted
   18 purported claims for: (1) breach of contract; (2) breach of the implied covenant of
   19 good faith and fair dealing; (3) breach of fiduciary duty; (4) constructive fraud; (5)
   20 intentional interference with contract; (6) aiding and abetting breach of fiduciary duty;
   21 (7) common law unfair competition; and (8) violation ofeAL. Bus. & PROF. CODE
   22 § 17200. All arise from the same trademark-related claims being asserted inthis
   23 Federal Court Action filed six days later. In its Superior Court Action,
   24 Counterdefendant IWA asserted:
   25
   26                    "Plaintiff Improv West Associates ('IWA') owns the world-famous
   27                    'Improv' trademarks and trade dress (collectively, the 'Improv
   28                    Brand') for various goods and services, including for the

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    1                    presentation of live stand-up comedy performances. For the past
    2                    eight years, IWA has entrusted defendant Robert Hartmann and his
    3                    affiliates with responsibility for the marketing, promotion, and
    4                    management of the Improv Brand on the internet. Hartmann and
    5                    his affiliates accepted that responsibility and undertook to act on
    6                    behalfofIWA and in the best interests of the Improv Brand.
    7                    Instead, Hartmann and the other defendants, motivated solely by
    8                    their own greed, hatched a scheme to siphon off the good will
    9                    associated with the Improv Brand for their own pecuniary gain.
   10                    Hartmann' and the other defendants' have built a valuable comedy
   11                    business conglomerate on the back of the Improv Brand and have
   12                    retained all benefits for themselves, to the exclusion of IWA and
   13                    its other licensees. Having misappropriated the good will,
   14                    customer information, and other property of IWA, Hartmann and
   15                    the other defendants are now poised to launch a chain of comedy
   16                    clubs and internet services in direct competition with IWA and the
   17                    Improv Brand."
   18
   19 [See the Complaint in the Superior Court Action, ,-r,-r 1 and 2 (EXHIBIT A
  20 hereto).]
  21
  22                     9.       Counterdefendant IWA's first cause of action in the Superior Court
  23 Action, for alleged breach of contract, is b,ased on Defendants Robert Hartmann and
  24 Levity Productions LLC allegedly "exploiting the Improv Brand, including without
  '25 limitation on the Improv Websites". [Id.,,-r 31.] The second cause of action (for
  26 alleged breach of the implied covenant of good faith and fair dealing), third cause of
  27 action (for alleged breach of fiduciary duty), fourth cause of action (for alleged
  28 constructive fraud), fifth cause of action (for alleged intentional interference with

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    1 contractual relations), sixth cause of action (for alleged aiding and abetting breach of
    2 fiduciary duty), seventh cause of action (for alleged common law unfair
    3 competition-"Defendants have appropriated and used the Improv Brand and
    4 associated good will to develop independent and competing businesses"), and the
    5 eighth cause of action (for alleged violation of CAL~ Bus. & PROF. CODE § 17200), are
    6 all based on that same allegation. [Id.,,-r,-r 33,35, 38-41, 44-46; 49, 54, 59-62, 65-66.]
    7 That same allegation forms the basis for all of Counterdefendant IWA's claims for
    8 relief in the Federal Court Action. [See the Complaint in the Federal Court Action, ,-r,-r
    9 18-24,27-28,31,33,36-37,40-41.]
   10
   11                    10.      Counterdefendant IWA's Superior Court Action also arises out of
   12 an alleged contract between it, on the one hand, and Defendants Robert Hartmann and
   13 Levity Productions LLC, on the other hand, regarding the use of the term "improv" in
   14 connection with the www.improv.com website. [See the Complaint in the Superior
   15 Court Action, ,-r,-r 17 and 18 (EXHIBIT A hereto).] That is the same allegation that
   16 Counterdefendant IWA makes in the Federal Court Action. [See the Complaint in the
   17 Federal Court Action, ,-r 15.]
   18
   19                    11.      In other words, in both the Superior Court Action and the Federal
  20 Action, Counterdefendant IWA seeks a determination of who has the right to control
   21 the use of the tenil "improv" in connection with the www.improv.com website and on
   22 the Internet. As a result, all of the causes of action asserted by Counterdefendant
   23 IWA in the Superior Court Action could have and should have been asserted in this
   24 subsequently filed Federal Court Action. Each of the claims asserted in its Superior
   25 Court Action is inextricably intertwined with the claims for relief being asserted in the
   26 present Federal Court Action and all arise out of the same alleged accused conduct.
   27 The previously named Defendants in the Superior Court Action (the Defendants other
   28 than Defendant-In-Intervention CCI) thus have filed a motion to stay that action
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                                                  ANSWER-IN-INTERVENTION AND COUNTERCLAIM-iN-INTERVENTION
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    1 pending the resolution of this Federal Court Action. That motion will be heard by the
    2 Superior Court on April 11, 2012.
    3
    4                    12.      In both the Superior Court Action and the Federal Court Action,
    5 Counterdefendant IWA has filed a lawsuit seeking to control the use of the
    6 www.improv.com website without naming Counterclaimant CCI, even though
    7 Counterclaimant CCI owns the www.improv.com website and domain name and the
    8 exclusive rights to the uses of which Counterdefendant IWA complains in both
    9 actions.
   10
   11 B.        Counterclaimant CCI's Exclusive Right To Use The Term "Improv"
   12           In Connection With The www.improv.com Website And The
   13           Internet.
   14




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                                                  ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1 including broadband or other internet related media, and radio ...." [A true and
    2 correct copy of the Amendment To Trademark License Agreement is attached hereto
    3 as EXHIBIT C and incorporated herein.] Counterdefendant IWA acknowledges this
    4 Amendment in its Superior Court Complaint, even though it falsely claims that the
    5 Amendment terminated in 2003. [See the Complaint in the Superior Court Action,
    6   ~   16 (EXHIBIT A hereto).] That license, and Counterclaimant CCl's exclusive right
    7 to use the term "improv" on the Internet, continues in effect.
    8
    9                    15.      On January 6, 2010, Counterdefendant IWA entered into a written
   10 Settlement Agreement with Counterclaimant CCI in which Counterdefendant IWA
   11 'affirmed Counterclaimant CCl's continuing exclusive right to use those, marks in
   12 connection with the www.improv.com website and on the Internet. [A true and
   13 correct copy of the Settlement Agreement is attached hereto as EXHIBIT D and
   14 incorporated herein; see also Exhibit "D" to the previously named Defendants'
   15 Counterclaims filed against IWA in this action on October 11, 2011 (ECF Doc. No.9,
   16 pages 67-73 of96).] That Settlement Agreement also provides, in relevant part, that
   17 "the Parties shall observe the status quo existing as of December 21, 2009 with
   18 respect to the Internet domain name 'Improv.com' and with respect to the use of the
   19 marks 'Improv' and 'Improvisation' on the Internet." The "status quo" existing in
  20 December 2009 was that Counterclaimant CCI had the exclusive right to the
  21 www.improv.com website and to use the term "improv" in connection therewith and
  22 on the Internet generally.
  23
   24                    16.      Counterdefendant IWA was repeatedly notified of
   25 Counterclaimant CCl's interest in, and importance to, any lawsuit related to the use of
  26 the term "improv" on the www.improv.com website or the Internet generally before
  27 Counterdefendant IWA filed this lawsuit on August 29, 2011 :
  28
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                                                 ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1           •        On April 28, 2011, Counterdefendant IWA sent a letter to
    2                    Counterc1aimant CCI, complaining about the use ofthe term "improv" in
    3                    connection with the www.improv.com website. [A true and correct copy
    4                    of that letter is attached hereto as EXHIBIT E and incorporated herein;
    5                    see also Exhibit "C" to the previously named Defendants' Counterclaims
    6                    filed against IWA in this action on October 11,2011 (ECF Doc. No.9,
    7                    pages 75-77 of96).]
    8
    9           .'       Counterc1aimant CCI responded on May 10, 2011 and explained that
   10                    Counterc1aimant CCl's continued operation of the www.improv.com
   11                    website was expressly permitted by various agreements between the
   12                    parties and that Counterdefendant IWA's demand that Counterc1aimant
   13                    CCI cease certain activities in connection with use of the term "improv"
   14                    on the website lacked any legitimate basis. [A true and correct copy of
   15                    that May 10,2011 response is attached hereto as EXHIBIT F and
   16                    incorporated herein; see also Exhibit "D" to the previously named
   17                    Defendants' Counterclaims filed against IWA in this action on October
   18                    11,2011 (ECF Doc. No.9, pages 79-82 of96).]
   19
   20           •       ,On June 16,2011, previously named Defendants Robert Hartmann and
   21                    Levity Entertainment Group separately wrote to Counterdefendant IWA
   22                    -in response to additional complaints by IWA about the
   23                    www.improv.com website-and informed IWA that its complaints
   24                    should be directed to Counterc1aimant CCI, which owns and controls the
   25                    website, and not to them. [A true and correct copy of that June 16,2011
   26                    letter is attached hereto as EXHIBIT G and incorporated herein; see also
   27                    Exhibit "E" to the previously named Defendants' Counterclaims filed
   28

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                                                ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1                    against IWA in this action on October 11,2011 (ECF Doc. No.9, page
    2                    840f96).]
    3
    4           •        On August 24, 20 iI-five days before this lawsuit was filed-
    5                    Counterclaimant CCI sent three additional letters to Counterdefendant
    6                    IWA in which it reiterated that it, and not Counterdefendant IWA, holds
    7                    the exclusive right to control the exploitation of the term "improv" on the
    8                    Internet and in connection with the www.improv.com website in
    9                    particular, and that Counterdefendant IWA's demand that
   10                    Counterclaimant CCI cease certain activities in connection with use of
   11                    the term "improv" on the website was baseless. [True and correct copies
   12                    of those three letters are attached hereto as EXHIBIT H and incorporated
   13                    herein; see also Exhibit "F" to the previously named Defendants'
   14                    Counterclaims filed against IWA in this action on October 11, 2011
   15                    (ECF Doc. No.9, pages 86-95 of96).]
   16
   17                    17.      Despite all of these and other notices to Counterdefendant IWA-
   18 each of which were sent to its counsel of record in this action-and despite the clear
   19 terms of the Trademark License Agreement, the Amendment thereto, and the
   20 Settlement Agreement, Counterdefendant IWA filed it Complaint in this action in
   21 which it purposely omitted Counterclaimant CCI, while simultaneously seeking to
   22 deny Counterclaimant CCl's exclusive contractual rights to use and license others to
   23 .use the term "improv" on the www.improv.com website and the Internet generally.
   24
   25                    18.      Counterdefendant IWA's omission of Counterclaimant CCI is
   26 particularly egregious because each of the alleged uses of the term "improv" on the
   27 Internet about which Counterdefendant IWA complains was done with the permission.
   28 of Counterclaimant CCI, the exclusive licensee and rights holder, pursuant to

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                                                 ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1 agreements between it and certain of the previously named Defendants in both the·
    2 Superior Court Action and the Federal Court Action. Counterdefendant IWA chose to
    3 sue those Defendants-various third parties with whom Counterclaimant CCI had
    4 contracted-instead of Counterclaimant CCI itself. Upon infonnation and belief,
    5 Counterdefendant IWA intentionally omitted Counterclaimant CCI from both the
    6 Superior Court Action and this Federal Court Action because it knew that, pursuant to
    7 the Trademark License Agreement, had Counterdefendant IWA sought a declaration
    8 against Counterclaimant CCI, Counterdefendant IWA could be liable for
    9 Counterclaimant CCl's attorneys' fees.
   10
   11 C.        Counterdefendant IWA's Attempt To State Claims Based On
   12           Actions Taken Pursuant To Counterclaimant CCI's Exclusive
   13           Rights To Use And Allow Others To Use The Term "Improv" On
   14           The Internet.
   15
   16                    ·19.     The alleged improper uses of the tenn "improv" on the Internet
   17 about which Counterdefendant IWA complains, including on the www.improv.com
   18 website, were done with Counterclaimant CCl's permission pursuant to its exclusive
   19 right to use and allow others to use the tenn "improv" on the Internet.
  20
  21                     20.      In this action (the Federal Court Action), Counterdefendant IWA
  22 pleads that in 2003 it extended a revocable license to two of the previously named
  23 Defendants to use the term "improv" "in connection with the marketing, promotion,
  24 and management of the Improv Marks at www.Improv.com and related websites".
  25 [See Complaint, at ~ 15.] That cannot be true. Counterdefendant IWA could not have
  26 extended any such license to those Defendants to use the marks in connection with the
  27 www.improv.com website or the Internet because Counterdefendant IWA had already
  28 exclusively licensed all such uses to Counterclaimant CCI.

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                                                  ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1                    21.      Counterdefendant IWA then pleads in the Federal Court Action
    2 . that after August 11, 2008 it "permitted [Defendants] Hartmann and Levity to
    3 continue to use the Improv Marks in connection with the Improv Websites". [Id.                     ~~

    4 17-18.] Again, Counterdefendant IWA could not have done so as Counterdefendant
    5 IWA had already exclusively licensed all such uses to Counterclaimant CCI, and that
    6 license continues in existence today.
    7
    8                    22.      Counterdefendant IWA then pleads in the Federal Court Action
    9 that the previously named Defendants are committing trademark infringement and
   10 other torts by using the term "improv" marks on the www.improv.com website and
   11 the Internet. [Id.       ~~     19-22.] But such use is permitted under Counterdefendant IWA's
   12 exclusive license for such uses that it granted to Counterclaimant CCI.
   13 Counterdefendant IWA, therefore, has sued the previously named Defendants for uses
   14 that are permitted and its claims, if any, are properly asserted, not against those
   15 Defendants, but against Counterclaimant CCI, which Counterdefendant IWA did not
   16 name as a party to this action.
   17
   18                    23.      CounterdefendaJ1t IWA alleges in the Superior Court Action that
   19 previously named Defendant Robert Hartmann requested that Counterdefendant IWA
   20 allow him to use the term "improv" on the Internet, including on the
   21 www.improv.com website. [See the Complaint in the Superior Court Action,                      ~   17
   22 (EXHIBIT A hereto).] However, during that time period, Counterclaimant CCI
   23 owned the www.improv.com website and had the exclusive right to use and allow
   24 others to use the term "improv" in connection therewith, and Defendant Robert
   25 Hartmann acted with regard to the www.improv.com website with Counterclaimant
   26 CCl's express consent.
   27
   28
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                                                    ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1                    24.      Counterdefendant IWA complains in the Superior Court Action
    2 that previously named Defendants Robert Hartmann and Levity Entertainment Group
    3 LLC "undertook to offer on-line ticketing for 'Improv' clubs nationwide" and other
    4 comedy clubs through the www.improv.com website, in violation of
    5 Counterdefendant IWA's rights. [See the Complaint in the Superior Court Action,
    6   ~~   23(a) and 23(c) (EXHIBIT A hereto).] However, during the relevant time period,
    7 Counterclaimant CCI owned the www.improv.com website and had the exclusive
    8 right to use and allow others to use the term "improv" in connection therewith, and
    9 previously named Defendants Robert Hartmann and Levity Entertainment Group,
   10 LLC acted with regard to the www.improv.com website with Counterclaimant CCl's
   11 express consent.
   12
   13                    25.      Counterdefendant IWA complains in the Superior Court Action
   14 that previously named Defendants Robert Hartmann and Levity Entertainment, Inc.
   15 pursued an online partnership with www.myspace.com "to create an online
   16 community for established and up-and-coming comedians" and also created Facebook
   17 and Twitter pages using the term "improv," again in violation of Counterdefendant
   18 IWA's rights. [See the Complaint in the Superior Court Action, ~~ 23(b) and (d)
   19 (EXHIBIT A hereto).] However, during the relevant time period, Counterclaimant
   20 CCI had the exclusive right to use and allow others to use the term "improv" in
  21 connection with the Internet, and previously named Defendants Robert Hartmann and
  22 Levity Entertainment, Inc. acted with Counterclaimant CCl's express consent.
  23
   24
  25
  26
  27
  28
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    1                                 FIRST COUNTERCLAIM FOR RELIEF
    2                                         [Declaratory Relief]
    3
    4                    26.      Counterclaimant CCI realleges and incorporates herein by
    5 reference the allegations contained in Paragraphs 1through 25 of these
    6 Counterclaims, as set forth above.
    7
    8                    27.      An actual controversy has arisen and exists betw~en
    9 Counterdefendants and Counterclaimant CCI concerning the effect of the Trademark
   10 License Agreement, the Amendment thereto, and the Settlement Agreement, including
   11 whether Counterclaimant CCI has the exclusive right to control the use of, and allow
   12 others to use, the term "improv" on the Internet.
   13
   14                    28.      A further controversy has arisen and exists between
   15 Counterdefendants and Counterclaimant CCI as to whether Counterclaimant CCI,
   16 when permitting certain of the previously named Defendants in the Superior Court
   17 Action and the Federal Court Action to use the term "improv" on the Internet and in
   18 connection with the www.improv.com website in the manner complained of in both
   19 the Superior Court Action and the Federal Court Action, infringed Counterdefendants'
   20 rights.
  21
  22                     29:      Counterclaimant Cel therefore, seeks a declaration from the Court
  23 that, pursuant to the Trademark License Agreement, the Amendment thereto, and the
  24 Settlement Agreement, Counterclaimant CCI has the exclusive right to the
  25 www.improv.com website and to control the use of, and allow others to use, the term
  26 "improv" on the Internet.
  27
  28
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                                                  ANSWER-IN-INTERVENTION AND COUNTERCLAIM-IN-INTERVENTION
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    1                   30.      Counterclaimant CCI further seeks a declaration from the Court
    2 that it, when permitting certain ofthe previously named Defendants in the Superior
    3 Court Action and the Federal Court Action to use·the term "improv" on the Internet
    4 and in connection with the www.improv.com website in the manner complained of in
    5 both the Superior Court Action and the Federal Court Action, did not infringe
    6   Counterdefen~ants'       rights.
    7
    8                                       PRAYER FOR RELIEF
    9
   10                   WHEREFORE, Counterclaimant CCI prays for judgment against
   11 Counterdefendants as follows:
   12
   13                    1.      That the Court issue a declaratory judgment declaring the items set
   14 forth in Paragraphs 30 and 31, above;
   15
   16                   2.       That the Court award Counterclaimant CCI its attorneys' fees
   17 incurred in this action as a result of Counterdefendants efforts to deny
   18 Counterclaimant CCl's rights under the Trademark License Agreement, the
   19 Amendment thereto, and the Settlement Agreement;
  20
  21                    3.       That the Court award Counterclaimant CCI its costs of suit
  22 incurred in this action; and
  23
  24                    4.       That the Court provide such other and further relief as the Court
  25 may deem just and proper.
   26
   27
   28
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Case 2:11-cv-07103-PSG-SH Document 27 Filed 03/29/12 Page 28 of 110 Page ID #:331



    1 Dated: Januaty f!i, 2012         SHEPPARD MULLIN RICHTER & HAMPTON LLP
    2
    3                                  By ----~~oL......1~-\r----_____\.ll~o\__---
    4
                                             Attorneys for Defendant-In-Intervention and
    5                                              Counterc1aimant-In-Intervention
                                                       COMEDY CLUB, INC.
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           Case 2:11-cv-07103-PSG-SH Document 27 Filed 03/29/12 Page 30 of 110 Page ID #:333




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               10

               11
                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
               12
                                         COUNTY OF LOS ANGELES, CENTRAL DISTRICT
               13

               14
                    IMPROV WEST ASSOCIATES, a California        Case No.         BC468164
               15   lim:ited partnership,
                                                                COMPLAINT FOR:
               16                   Plaintiff,
                                                                (1) BREACH OF CONTRACT;
               17
                               v.                               (2) BREACH OF IMPLIED COVENANT
               18                                                     OF GOOD FAITH AND FAIR
                                                                      DEALING;
               19 ROBERT HARTMANN, an individual;
                  LEVITY PRODUCTIONS LLC, a Delaware            (3)   BREACH OF FIDUCIARY DUTY;
               20 limited liability company; STU SCHREIBERG,
                  an :.ndividual; JUDI BROWN-MARMEL, an         (4)   CONSTRUCTIVE FRAUD;
               21 individual; LEVITY ENTERTAINMENT
                  GROUP, INC., a California corporation;      . (5)    INTENTIONAL INTERFERgNGE::o n
               22 LEVITY LIVE, LLC, a Delaware limited                 WITH CONTRACTUAL ~ ~ ~ ~ ~
                  liahility company; E-COMIC BRANDING,                 RELATIONS;            ~ ~ ~ ~ ~
                                                                                             rrl-iJ>-iCl)
               23 INC., a' California corporation; and DOES 1                 .      ~~~£='" ;;=:~
                  thrl)ugh 50, inclusive,                       (6)   .AIDING AND ABE~'EI~R2ACJI ~
               24                                                      OF FIDUCIARY DDt\'··.    ~ :$
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                                   Defendants.                                                       OI"'):Z:: .....
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1&
               25                                               (7) COMMON LAW UNF AI~                   2: ~ -;.
                                                                    COMPETITION;     ~'l                        ~ ~
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;~                                                              (8) VIOLATION OF BUS. & PROF. g:                     ~
~~"
.\             27                                                   CODE §§ 17200et seq.   Q
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                                                                                                     ..... J>
                                                                                                     o::a:
               28                                               DEMAND FOR JURY TRIAL

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                                                 EXHIBIT iPAGE \~
                                                          COMPLAINT
                                   •                                             •
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                                                       BACKGROUND
          2            1.    Plaintiff Improv West Associates ("IWA") owns the world-famous "Improv"

          3 trademarks and trade dress   (collectiv~ly,   the "Improv Brand") for various goods and services,

          4 including for the presentation of live stand-up comedy performances. For the past eight years,

          5 IWA has entrusted defendant Robert Hartmann and his affiliates with responsibility for the

          6 marketing, promotion, and management of the Improv Brand on the internet. Hartmann and his

          7 affiliates accepted that responsibility and undertook to act on behalf ofIWA and in the best

          8 interests of the lrilprov Brand.

          9            2.    Instead, Hartmann and the other defendants, motivated solely by their own greed,

         10 hatched a scheme to siphon off the good will associated with the Improv Brand for their own

         11   pecuniary gain. Hartmann and the other defendants have built a valuable comedy business

         12 conglomerate on the back of the Improv Brand and have retained all benefits for themselves, to the

         13   excJ.usion of IWA and its other licensees. Having misappropriated the good will, customer

         14 infcrmation, and other property of IWA, Hartmann and the other defendants are now poised to

         15 launch a chain of comedy clubs and internet services in     dire~t   competition with IWA and the

         16 Improv Brand.

         17            3.   IWA brings this action to redress this grievous misconduct and to recover the

         18 significant damages that it has suffered at the hands of defendants and all amounts by which the

         19 defimdants have been unj ustly enriched.

         20                                                  PARTIES
         21            4.   Plaintiff is a California limited partnership with its principal place of business in

         22 Lm. Angeles, California.

         23        . 5.     Defendant Robert Hartmann ("Hartmann") is an individualwho, on information

         24 and. belief, resides in Los Angeles, California. At all material times, the activities of Hartmann
         25 and. the other defendants complained of herein were undertaken while Hartmann and the other
l~
;~       26 defendants maintained their respective principal places of business in Los Angeles, California and
~~
;~
.r·      27 were taken from and out of their respective principal places of business.
         28                                       EXHIBIT lPAGE                  'l1
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                                                            COMPLAINT
                   6.
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                           Defendant Levity Productions LLC ("Levity") is a Delaware limited liability

     2 company with its principal place of business in Los Angeles, California.

     3             7.      Defendant Stu Schreiberg ("Schreiberg") is an individual who, on information and

     4 belief, resides in Los Angeles, California.

     5             8.      Defendant Judi Brown-Marmel ("Brown-Marmel") is an individual who, on

     6 information and belief, resides in Los Angeles, California.

     7             9.      Defendant Levity Entertainment Group, Inc. ("Levity Entertainment Group") is a

     8 California corp<;>ration with its principal place of business in Los Angeles, California.

     9             10.     Defendant Levity Live, LLC ("Levity Live") is a Delaware limited liability

    10 company with its principal place of business in Los Angeles, California.

    11             11.     Defendant E-Comic Branding, Inc. ("E-Comic Branding") is a California

    12 corporation with its principal place of business in Lo~ Angeles, California. Schreiberg, Brown-

    13 Marmel, Levity Entertainment Group, Levity Live, and E-Comic Branding are referred to

    14 collectively herein as the "Non-Hartmann Defendants."

    15             12.     IWA is ignorant of the true names and capacities of defendants sued herein as Does

    16   1 through 50, inclusive, and therefore sues these defendants by these fictitious names. IWA will

    17 am(:nd this complaint to allege their true names and capacities when ascertained. IWA is informed

    18 and believes and thereon alleges that each of the fictitiously named defendants is responsible in

    19 some mann~r for the occurrences herein alleged,and that TWA's injuries as herein alleged were

    20 pro Kimately caused by the wrongful conduct of these fictitiously named defendants.

    21             13. .   IWA is informed and believes and thereon alleges that at all times herein

    22 mentioned, Does 1 through 50, inclusive, were the agents or employees of the other defendants

    23   and. in doing the things hereinafter alleged were acting within the course and scope of that agency

    24   or <:mployment.

    25                                              BACKGROUND
   26              14.     IWA and its predecessors~in.interest have used and actively promoted the Improv

   27 Brand continuously for ,nearly half a century, since the establishment of the "Improv" as the

    28 world's first "comedy club" in 1963. IWA has invested substantial time and resources in
         895(8.1                              EXHIBIT       Jf- PAGE J::i
                                                       COMPLAINT
                                           •                                        •
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                1 estahlishing throughout the United States exclusive rights in the Improv Brand for a wide array of

                2 goods and services. As a result oflWA's efforts, the Improv Brand is one of the premier brands in

                3 the world of comedy. The substantial good will that IWA has developed in the Improv Brand is of

                4 incalculable value.

                5             15.    IWA has licensed various third parties to operate "Improv" branded comedy clubs..

                6 At present, there are 23 IWA-licensed or operated "Improv" clubs located across the country.

                7 Hartmann, through several companies in which lie is a substantial owner, has been and remains a

                8   lon~;-time   licensee of the "Improv" marks in connection with clubs located Brea, Irvine, and

                9 Ontario, California (the "Hartmann Clubs'l Those licenses do not permit Hartmann or his

               10 affiliated companies to make any use of the Improv Brand except in connection with the operation

               11 ' of those specific   clubs~

               12             16.    In or about October 1999, IWA licensed to a third party the exclusive rights and

               13   lice:Jse to exploit the Improv Brand on the internet, including at www.Improv.com and related

               14 websites (the "Improv Websites"). That license terminated no later .than August 2003.

               IS             17.    Following the tennination of that third-party license, Hartmann requested that IWA

               16 allow him to promote the Improv Brand and the business of the various "Improv" comedy clubs

               17 on 'the internet. Based on IWA's longstanding relationship with Hartmann and his demonstrated

               1g commitment to the HImprov" clubs, IWA believed that Hartmann had IWA's best interests at heart

               19 and therefore granted him a revocable license to market, promote, and manage the Improv Brand
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               20 via the Improv Websites (the "License Agreemenf'). Hartmann was not required to pay any

               21   license fee or royalty pursuant to the License Agreement. Instead, Hartmann's consideration for

               22 the license was his promise to develop the Improv Websites and to market, promote, and manage

               23   the Improv Brand via those sites for the benefit of IWA, the Improv Brand, and IWA's other

               24 lice nsees.

               25             18.    In undertaking to act on behalf of and for the benefit ofIWA in connection with the
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               26 .ma::keting, promotion, and management of the Improv Brarid via the Imprav Websites, Hartmann
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  .f           27 knowingly assumed fiduciary duties, including duties of the utmost loyalty, care, disclosure, and
               28   fairdealing, to IWA. IWA placed a high degree of trust and confidence in Hartmann, afforded

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             1 him considerable discretion in his marketing, promotion, and management of the Improv Brand

             2   via the Improv Websites, and proceeded at all times in reliance on Hartmann's undertaking to act

             3 in the best interests of IWA, the Improv Brand, a;nd IWA's other licensees.

             4               19.   In or about August 2005, Hartmann and Schreiberg formed Levity, a production

             5 company that produces television series, television specials, DVDs, and television segments and

             6 promotional videos featuring stand·up comedy performances. The License Agreement was

             7 ex'tended to include Levity as an additional licensee. So extended, the License Agreement

             8 afforded Hartmann and Levity jointly the right to market, promote, and manage the Improv Brand

             9 via ·the Improv Websites, with each committed to act on behalf of and for the benefit of IW A.

            10 Hartmann publicly touted Levity as IWA's "partner."

            1I               20.   In early August 2006, Hartmann asked IWA to grant him an "overall license" to

            12 use the Improv Brand for many products and services and across all media. When IWA declined

            13 to grant an "overall license" on the terms proposed by Hartmann, Hartmann nonetheless took it

            14 upon himself to seize for his own benefit what he could not obtain through negotiation and'

            15   attempted to sell a deal to a cruise line for Levity.to supply "Improv" branded live stand-up

            16 comedy entertainment to the cruise line. IWA admonished Hartmann that he had no right to make

            17 suc'h a deal and, in particular, reminded him that he was not authorized to use the contact

            18 information for visitors to the Improv Website for any purpose other than ticket sales to IWA-

           .19   licensed "Improv" comedy clubs.

            20               21.   In or about November 2007, again without the knowledge or authorization of IWA,

            21   Hartmann caused Levity to file applications with the United States Patent and Trademark Office to

            22 register the marks "Improv" and "The Improv" in Levity's name for use in connection with a
            23   variety of goods and services, including CDs and DVDs, hats, toys, television programming, and

            24 res':aurants. IWA did not authorize the filing of the applications and, upon learning of them, asked

            25   that Hartmann withdraw the applications, which he did. Hartmann explained he had made the
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l~~         26 applications for IWA's benefit and to protect the value of the Improv Brand. Hartmann
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fro         27 acknowledged in writing that IWA owned all rights in the "Improv" marks and that any use of the
            28 marks by Hartmann, Levity, or their affiliates was at IWA's sufferance.

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                                  On information and belief, Hartmann's attempted·registration of the "Improv"

           2 marks had not been intended to benefit IWA, as Hartmann represented. Rather, unbeknownst to

           3 IW A, Hartmann, with the encouragement and assistance of Schreiberg and           Brown~Marmel,    had

           4 hatched a scheme to appropriate the ~ood will associated with the Improv Brand for the purpose of

           5 devdoping independent businesses under the umbrella of the LevityEntertainment Group, which

           6 Hartmann owned with Schreiberg and Brown-Marmel and which they planned to operate in

           7 competition with IW A.

           8              23.·    From 2008through IWA's termination of the License Agreement effective July 31,

           9 2011, Hartmann and Levity repeatedly breached their obligations to IWA. Virtually all of the

          10 activities that Hartmann and Levity undertook using the Improv Brand, and for the supposed

          1I ben efit of IWA, were in fact calculated to advance the interests of Hartmann and his partners to

          12 .the ultimate detriment of IWA and the Improv Brand. By way of example:

          13                      a.     Hartmann and Levity undertook to offer on-line ticketing for "Improv"

          14              clubs nationwide through the Improv Website, ostensibly for the purpose of boosting ticket

          15              sales and thereby the license fees due to IWA under its various club licenses. On

          16              information and belief, Hartmann'sand Levity's true motivation was not to benefit IWA at

          17              all, but instead to amass a large database of the names and contact information for

          18              hundreds of thousands of Improv customers and stand-up comedy fans that Hartmann and

          19              Levity could independently exploit or sell to third parties for their own pecuniary gain.

          20              Hartmann and Levity have refused to share this Improv customer database with IWA and

          21              have instead used the infonnation for their own pecuniary gain, including in connection

          22              with their development ofthe Levity Entertainment Group and its planned line of

          23              competing "Levity Live" comedy clubs.

          24                      b.     Hartmann and Levity pursued various partnerships ostensibly on IWA's

          25              behalf, including an "Improv" branded partnership with MySpace.com to create an online
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          26              community for established and up-and-coming comedians, often without IWA' s
;i        27              knowledge or authorization. On information and belief, Hartmann and Levity used the
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          28              MySpace.com partnership not to benefit IWA and the Improv Brand, but instead to cement

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                             their control over com.edy content on the internet and to thereby leverage comedians into

              2              signing with Hartmann. Levity. and their affiliated companies. including E-Comic

              3              Branding. to manage, market. and promote their careers.

              4                     c.      In or about January 2009, Hartmann and Levity began offering ticketing for

              5              the Gotham Co.medy Club, a New York comedy club in which Hartmann is a partial

              6             owner, through the Improv Websites. Hartmann represented that he intended rebrand the

              7             Gotham Comedy Club as an "Improv" club. such that license fees would be paid to IWA

              8              based on the success of the club. Indeed, Hartmann and his affiliates publicly referred to

              9             the Gotham Comedy Club as the "New York Improv." On information and belief,

             10             Hartmann did not intend to rebrand the Gotham Comedy Club as an "Improv" club. and he

             II             has instead used the good will associated with the Improv Brand to develop what may soon

             12             become a flagship club in the competing chain of comedy clubs.

             13                     d.      Hartmann and Levity created Improv-branded Facebook and Twitter pages,

             14             without the knowledge or authorization of IWA, and have used those pages to promote

             15             . Hartmann's and his affiliates' other ventures. including "The Comedy Sideshow," "Tweet

             16             the Caption," "Joke Or Joker." "The5 Spot," and, most recently. their competing "Levity

             17             Live" comedy clubs.
             18                     e.      Hartmann and Levity. without IWA's knowledge or approval. created an

             19             "Improv ad network," managed by E-Comic Branding, to build relationships with

             20             companies targeting their goods and services to fans of stand-up comedy. Hartmann and

             21             Levity have not disclosed or shared any revenues generated by the "Improv ad network"

             22             with IWA and, on information and belief, intend to use that "ad network" to generate

             23             revenues for one or more websites they are building to compete with IWA, including

             24             www.LevityLive.com (the "Levity Live Website").

             25                     f.      Hartmann and Levity. without IWA's knowledge or approval. have used the
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                            lmprov Brand to promote their independent businesses by falsely holding themselves out
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!t·          27             as the managers of all the "Improv" comedy clubs, all ofIWA's retail business, and all of

             28             IWA's media ventures.
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                          g.     Hartmann and Levity, without IWA's knowledge or approval, have used the

     2             Improv Brand to promote their independent businesses by falsely claiming that Hartmann

     3             was responsible   fOT   an NBC network television special celebrating the 40th anniversary of

     4             the "Improv" comedy clubs, which was in fact produced by IWA.

     5                    h.     Hartmann and Levity, without IWA's knowledge or approval, have

     6             otherwise used the Improv Brand to promote their independent businesses, including

     7             without limitation their business of booking comedians to give live stand-up comedy

     8             perfonnances at corporate events.

     9             24.    Since at least 2008, Hartmann and Levity have consistently leveraged their

    10 management of and association with the Improv Brand to establish themselves as "gatekeepers" to

    11   reaehing stand-up comedy fans via the internet. Hartmann has falsely represented that he owns

    12 The;: Improv (he does not) and that he is the CEO of The Improv (he is not). Levity Entertainment

    13   Grc1up has similarly pitched itself as the majority owner of The Improv (it is not) and attempted to

    14 bra:ld independent businesses with the "Improv" marks. Comedians and companies who want to

    15 reach a broad audience of stand-up comedy fans have been forcedto deal with Hartmann, Levity,

    16 and their affiliates as the supposed owners of the premier brand in stand-up comedy. Upon

    17 information and belief, Hartmann, Levity and their affiliates have wrongfully used their control

    18 ove r the booking of comedians into various "Improv" comedy clubs to browbeat comedians into

    19 allowing Levity to manage their careers under threat that they would not otherwise be permitted to

    20 perform at "Jmprov" comedy clubs. Hartmann and Levity have exerted this control not for the

    21   ber.efit of IWA, but instead for their own benefit and in preparing to compete with IWA and the

    22 Improv Brand.

                   25.    Throughout this period, Hartmann and his affiliates sought to assuage IWA's

         concerns regarding the independent businesses he was building on the back of the Improv Brand

         by expressing an interest in buying out or merging with IWA and making several lucrative

         proposals to do just that. On information and belief, Hartmann and his affiliates had no genuine

         interest in buying out or merging with IWA, and they were instead stringing along IWA while
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         they used the good will associated with the Improv Brand to build their own competing ventures

     2 before unilaterally abandoning all negotiations.

     3             26.   Hartmann's and the.other defendants' true motivations have only recently come to

     4 light. On or about July 11,2011, Levity Entertainment Group filed an application to register the

     5 mark "Levity Live" for comedy club and internet services-i.e., the same services offered under

     6 the Jmprov Brand: Within the past week, IWA discovered the Levity Live Website, which is

     7 presently a holding page for a new chain of comedy clubs branded as "Levity Live." Remarkably,

     8 the ;LevityLive.com domain was registered roughly six months ago in the name ofImprov.com, a

     9 bnu:en signal of the defendants' intent to transfer the good will associated with the Improv Brand

    10 and Improv Websites to their competing venture. Hartmann, without IWA's knowledge or

    II   con;;ent, added an endorsement for "Levity Live" to the official Hartmann-managed "Improv"

    12 Fac,~book page and has been directing Improv fans to his new competing venture. Some recent

    13   pos':ings on the "Improv" Facebook page are now listed as originating with the "Improv Comedy

    14 Clubs via Levity Live." And Levity Entertainment Group has recently launched a "test site" for

    15 Levity Live ticket sales through LaughStub, the very same ticketing platfonn through which

    16 Hartmann and Levity control ticketing for "Improv" clubs nationwide.

    17             27.   lWA terminated the License Agreement effective July 31,2011.

    18                                     FIRST CLAIM FOR RELIEF
    19                                           Breach   ~f Contract

    20                              (Against Defendants Hartmann and Levity)
    21             28.   IWA realleges and incorporates by reference each of the foregoing paragraphs as

    22 though fully set forth herein.

    23             29.   The License Agreement was and remains a valid and legally enforceable

    24   agr~ement.

    25             30.   IWA has performed all promises, covenants, and obligations required of it pursuant

    26   to the terms of the License Agreement, except as such perfonnance many have been excused or

    27 prevented.

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                                   As described above, Hartmann and Levity materially breached the License

           2 Agrl~ement by exploiting the Improv Brand, including without limitation on the Improv Websites,

           3 for their own pecuniary gain and in a manner that was calculated to advance the interests of

          .4 Han:mann and his partners to the ultimate detriment of IWA and the Imp.rov Brand.

           5                32.·   As a direct and proximate result of Hartmann's and Levity's breaches, IWA has

           6 suffered damages in an amount to be proven at trial.

           7                                        SECOND CLAIM FOR RELIEF

           8                         Breach of Implied Covenant of Good Faith and Fair Dealing
           9                                  (Against Defendants Hartmann and Levity)
          10                33.    IWA realleges and incorporates by reference each of the foregoing paragraphs as

          11     though fully set forth herein.

          12                34.    In every contract, there is an implied covenant of good faith and fair dealing that

          13     prohibits a party to a cont~act from taking any action that is intended to or has the natural tendency

          14 to deprive the other party of the full benefits of its bargain. This covenant was implied into the

          15     Licc~nse   Agreement and imposed upon Hartmann and Levity a duty not to engage in any acts or .

          16 omissions that would deprive IWA of the rights and benefits of the License Agreement.

          17                35.    Hartmann and Levity breached the implied covenant of good faith and fair dealing

          18     by their conduct described herein, including without limitation through their misuse of the license

          19 rights granted by IWA to advance their own pecuniary interests to the ultimate detriment of IWA

          20 and the Improv Brand.

          21                36.    The conduct of Hartmann and Levity as alleged herein unfairly frustrated the

          22 common purposes of the License Agreement and the reasonable expectations of IWA, thereby
          23 depriving IWA of the benefits of the License Agreement.
          24                37.    As a direct and proximate result of Hartmann's and Levity's breaches, IWA has

          25     suffered damages in an amount to be proven at trial.
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     1                                     THIRD CLAIM FOR RELIEF

     2                                        Breach of Fiduciary Duty

     3                               (Against Defendants Hartmann and Levity)

     4             38..   IWA realleges and incorporates by reference each of the foregoing paragraphs as

     5 though fulJy set forth herein.
                      .     I
     6             39.    Hartmann and Levity undertook to act on behalf of and for the benefit ofIWA in

     7 connection with the development, promotion, and management of the Improv Brand on the

     8 internet for the purpose of promoting the business of the various "Improv" comedy clubs. In

     9 connection with such activities, IWA vested Hartmahn and Levity with considerable discretion,

    10 and placed a high degree of trust and confidence in them.

    11             40;    Hartmann and Levity owed fiduciary duties, indudingduties of the utmost loyalty,

    12 car(:, disclosure, and fair dealing, in connection with their development, promotion, and

    13   management of the Improv Brand on the internet as allowed by IW A.

    14             41.    By the conduct alleged herein, Hartmann and Levity repeatedly breached their

    15   fiduciary duties to IW A.

    16             42.    As a direct and proximate result of Hartmann's andLevity's breaches of fiduciary

    17 duty, IWA has suffered, and will continue to suffer, damages in an amount to be proven at trial.

    18             43.    Hartmann's and Levity's acts were undertaken intentionally and in conscious

    19 disregard ofIWA's rights. In addition, Hartmann's and Levity's acts were malicious, oppressive,

    20 and/or fraudulent. Therefore, IWA should be awarded punitive and exemplary damages sufficient

    21   to punish Hartmann and Levity and to deter similar conduct in the future.

    22                                    FOURTH CLAIM FOR RELIEF
    23                                           Constructive Fraud

    24                               (Against Defendants Hartmann and Levity)

    25             44.    JWA reaJleges and incorporates by reference each of the foregoing paragraphs as

    26   though fully set forth herein.

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                            Hartmann and Levity owed fiduciary duties to IWA, including duties of the utmost

     2   loyalty, care, disclosure, and fair dealing, in connection with their development, promotion, and

     3   management ofthe Improv Brand as allowed by IWA.

     4                46.   By the conduct alleged herein, Hartmann and Levity took unfair advantage in IWA.

     5   Hartmann and Levity did not act in the best interests of IWA and the Improv Brand.

     6                47.   As a direct and proximate result of Hartmann's and Levity's constructive fraud,

     7   IWA has suffered, and will continue to suffer, damages in an amount to be proven at trial.

     8                48.   Hartmann's and Levity's acts were undertaken intentionally and in conscious

     9   disregard of IWA's rights. In addition, Hartmann's and. Levity's acts were malicious, oppressive,

    10   and 'or fraudulent. Therefore, IWA should be awarded punitive and exemplary damages sufficient

    11   to punish Hartmann and Levity and to deter similar conduct in the future.

    12                                          FIFTH CLAIM FOR RELIEF
    13                                Intentional Interference with Contractual Relations

    14                                     (Against The Non-Hartmann Defendants)

    15                49.   IWA realleges and incorporates by reference each of the foregoing paragraphs as

    16 tho'Jgh fully set forth herein.
                                  '   ..
    17                50.   The Non-Hartmann Defendants knew ofthe License Agreement betw:een IWA, on

    18   the one hand, and Hartmann and Levity, on the other hand.

    ]9                51.   The Npn-Hartmann Defendants intended to induce a breach of the License

    20   Ag;~eement or      to otherwise disrupt its performance, each for their own respective advantage and

    21   ber..efit.

    22                52.   The Non-Hartmann Defendants' conduct induced a breach of the License

    23   Agreement by Hartmann and Levity or otherwise disrupted its performance.

    24                53.   As a direct and proximate result of the Non-Hartmann Defendants' conduct, IWA

    25   has been harmed in an amount to be proven at trial. The Non-Hartmann Defendants' conduct was

    26 a substantial factor in causing that harm.

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                                           SIXTH CLAIM FOR RELIEF

     2                            Aiding and Abetting Breach of Fiduciary Duty

     3                               (Against The Non-Hartmann·Defendants)

     4             54.   IWA realleges and incorporates by reference each of the foregoing paragraphs as
     5 though fully set forth herein.

     6             55.   The Non-Hartmann Defendants, and each of them, each for their own respective
     7 adv:mtage and benefit, have provided substantial assistance to Hartmann and Levity in performing
     8 the wrongful conduct that has given rise to Hartmann's and Levity's breaches of their fiduciary
     9 duties.
    10             56.   The Non-Hartmann Defendants were fully aware that Hartmann and Levity owed
    11   fiduciary duties, including a duty of loyalty, to IWA and facilitated Hartmann's and Levity's
    12 conduct in breaching those duties willfully and maliciously in order to benefit themselves.

    13             57.   As a direct and proximate result of the breaches of fiduciary duty described herein,
    14 IWA has suffered, and will continue to suffer, damages in an amount to be proven at trial.

    15             58.   The Non-Hartmann Defendants' acts were undertaken intentionally and in
    16 conscious disregard of IWA's rights. In addition, the Non-Hartmann Defendants' acts were
    17 malicious, oppressive, and/or fraudulent. Therefore, IWA should be awarded punitive and
    18 exemplary damages sufficient to punish the Non-Hartmann Defendants and to deter similar
    19 conduct in the future.

    20                                   SEVENTH CLAIM FOR RELIEF

    21                                   Common Law Unfair Competition

    22                                        (Against All Defendants)

    23             59.   IWA realleges and incorporates by reference each of the foregoing paragraphs as
    24 though fully set forth herein.

    25             60.   IWA invested substantial time and resources in developing the Improv Brand and

    26 the good will associated therewith.

    27             61.   As alleged above, Defendants have appropriated and used the Irnprov Brand and

    28 associated good will to develop independent and compe,~i~~ ~~~.inesses.                               fJ-- ¥
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                   62.    Defendants' appropriation and use of the [mprov Brand and associated good will

     2 was done undoer false pretenses, and without the informed authorization and consent ofIW A.

     3             63.    As a direct and proximate result of Defendants' acts of unfair competition, IWA

     4 has suffered, and will continue to suffer, damages in an amount to be proven at trial.

     5             64.    Defendants' acts were undertaken intentionally and in conscious disregard of

     6 I~A's rights. In addition, Defendants' acts were malicious, oppressive, and/or fraudulent.

     7 Therefore, IWA should be awarded punitive and exemplary damages sufficient to punish

     8 Defendants and to deter similar conduct in the future.

     9                                     EIGHTH CLAIM FOR RELIEF

    10                              Violation of Bus. & Prof. Code §§ 17200 et seq.

    11                                          (Against All Defendants)

    12             65.    IWA realleges and incorporates by reference each of the foregoing paragraphs as
    13 though fully set forth herein.

    14             66.    Defendants' actions as described herein constitute unlawful, unfair, and fraudulent

    15 business practices proscribed by California Business and Professions Code Sections 17200 et seq.

    16             67.    As a result of Defendants' acts in violation of California Business and Professions

    17 Code Sections 17200 et seq., IWA has suffered and, unless those acts are enjoined by the Court,

    18 wit continue to suffer irreparable harm for which it has no adequate remedy at law

    19                                          PRAYER FOR RELIEF
    20             WHEREFORE, IWA respectfully prays for the following relief:

    21             A.     For compensatory damages in an amount to be proven at trial;

    22             B.     For an accounting of and constructive trust over the profits, revenues, and reciepts of

    23   De1fmdaI:tts dervied from the wrongful conduct alleged herein;

    24             C.     For punitive and exemplary damages;

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               1                                             DEMAND FOR JURY TRIAL
               2              Plaintiff ImproY West Associates hereby demands a trial by jury of all issues so triable.

               3
                   Dat~d:     August 22, 2011                     KENDALL BRILL & KLlEGER LLP
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                                                                        - and-
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                                                                  DENNIS ARDI ATTORNEY AT LAW
               9                                                  PROFESSIONAL CORPORAnON
              10                                                   Attorneys for Plaintiff ImproY West Associates
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             1                                      DEMAND FOR JURY TRIAL
             2        Plaintiff Improv West Associates hereby demands a trial by jury ofall issues so triable.

                                                          KENDALL BRILL & KLIEGER LLP


                                                          By:,            ~
                                                                 Robert NiieY


                                                                 - and-

                                                          DENNIS ARDI ATTORNEY AT. LAW
                                                          PROFESSIONAL CORPORAnON

                                                          Attorneys for Plaintiff Improv West Associates




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                  THIS TRADENlARK LICENSE AGREEMENT is dated as of June 13, 1999,
           and is entered· into by, and among, on· the one hand, COMEDY CLUB,INC., a
           Louisiana corporation, ("CCI"), having its principal executive office at 1405 Airline
           Drive, Metairie, Louisiana, and AL COPELAND INVESTMENTS, INC., a Louisiana
           corporation, (" ACII"), having its principal executive office at 1405 Airline Drive,
           Metairie, Louisiana, jointly and severally (CCI and ACII are hereinafter, jointly and        ..
           severally, referred to as "Licensee"); and, on the other hand, IMPROV WEST                   ;..
           ASSOCIATES, a California limited partnership ("Licensor"), having its principal
           executive office at 8162 Melrose Avenue, Los Angeles, California.

                   WHEREAS, Licensor owns and operates a restaurant, bar and nightclub at 8162
           Melrose Avenue, Los Angeles, California known as the "IMPROV" (the "Melrose
           Improv") and controls the rights to use and license the trademarks "IMPROV" and
           "IMPROVISATION" (such trademarks, together with the related trade dress and
           related trade secrets, are hereinafter referred to as the "Trademarks") at such location;
           and

                  WHEREAS, Licensor, except as otherwise herein set forth or disclosed, owns
           the Trademarks and controls the rights to use the Trademarks at all locations other than
           at the Melrose Improv and also is engaged in the business of licensing others to use the
           Trademarks in connection with restaurants, bars and nightclubs; and

                  WHEREAS, Licensor and Licensee are entering into a Asset Purchase and Sale
           Agreement (the "Asset Purchase Agreement") concurrently With this Agreement,
           pursuant to which Licensor agrees to sell, assign and transfer and Licensee agrees to
           purchase certain assets of the Melrose Improv; and

                   WHEREAS, Licensor wishes to grant to Licensee and Licensee wishes to
           acquire an exclusive license to use the trademarks "IMPROV" and
           "IMPROVISATION" (the "Trademarks') in connection with the business that Licensee
           plans to operate at the premises now. used by the Melrose Improv; and

                   WHEREAS Licensor wishes to grant to Licensee and Licensee wishes to
                                          I


           acquire from Licensor a license to use the Trademarks in connection with other                     .:
           restaurant/bar/nightclub facilities that Licensor may own or op.en at other locations and
           the right to grant to third parties a sub-license to use the Trademarks in connection with
           other restaurant/bar/nightClub facilities that such third parties may own or open at other
                                                                                                             (~l
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           locations;




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                   NOW THEtEF#E, in consideration of the premises and the mutual covenants
            and conditions co~ne~ herein, and intending to be legally bound hereby,the parties
            agree as follows:

                       1.         DEFINITIONS

                    "Adjusted Gross Sales" memlS, for any Club, all gross receipts at such Club,
            less credit card chargebacks not ultimately collected, less complimentary food,
            beverages and admissions (not exceeding the level of complimentary food, be:verages
            and admissions as the Melrose Improv has customarily afforded to its business guests
            and entertainment industry performers, executives, managers, lawyers and agents), less
            any receipts for food and beverages consumed in any area of the Club (the "Non-
            Improv Area") which is both physically separate and apart (which may mean a separate
            building, but may also mean a separate dining room) from that portion of the Club in
            respect of which the Trademarks are used and not used for the presentation of live
            entertainment, plUS, if and to the extent any discounts are allowed to Club patrons for
            food, beverages or Club admission by reason of their patronage of the Non-Improv
            Area or as a" means of marketing or promoting the Non-Improv Area, a deemed
            admission equal to the discount.

                    "Affiliate" means, as to any natural person, or any corporation, partnership,
           JOlOt venture, limited liability company. business association, trust, governmental
           agency or other entity (each, a "Person"), any other Person controlled by, under
           cominon control with, or which controls, directly (or indirectly through one or more
           intermediaries), the Person in question. The term "Control" for these purposes means
           the ability, whether by direct or indirect ownership of shares or other equity interest, by
           contract or otherwise, to elect a majority of the directors of a corporation, to select the
           managing partner or member of a partnership or limited liability company, or otherwise
           to select, or have the power to remove and then select, a majority of those persons
           exercising governing authority over an entity, and, in the case of a limited partnership
           or limited liability company, shall mean the sale general partner thereof, all of the
           general partners thereof, to the extent each has equal management control or authority,
           or the managing general partner or member or managing "generalpanners or members
           thereof, as appropriate (and in any event shall mean the ownership and control [that is,
           the right to vote] of fifty percent (50%) or more of the residual equity interest in an
           entity). The term "Affiliate" shall also mean and include: (i) a trust of which the
           Person, or a direct or indirect shareholder of such Person, is a, trustee, or which has as
           its principal income or residuary beneficiaries such Person, or any direct or indirect
           shareholder of such Person, or members of the immediate family of such Person, or
           direct or indirect shareholder; and (ii) any members of such Person's immediate family,
           or the member of the immediate family of any direct or indirect shareholder of such
           Person. For purposes hereof. shares or other ownership interests held by a trust shall be
           deemed to be owned pro rata by the income and residuary beneficiaries of such trust.
           Further, the members of the immedi.ate family of any Person shall include all collateral


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      relatives of such Persolf having a common~inear ancestor with such Person, and the
      spouse or any forw:r spouse of such Person or any of such collateral relatives of such
      spouse.

              , "Club" means any bar, restaurant, nightclub or other facility in respect of which
      any of the Trademarks is in any way used or displayed and any restaurant, nightclub or
      other facility adjacent to or within 50 yards of such facility which is owned or operated
      by an Affiliate of the owner or operator of such bar, restaurant, nightclub or other
      facility.

             "Operator" means any Person, including Licensee or any Affiliate of Licensee
      or any Third Pany, which owns or operates a Club licensed or sub-licensed pursuant to
      this Agreement, whether for its own account or as manager or agent for any other
      person duly licensed or sub-licensed to own or operate a Club.
                                                                                                    .'
             "Term" means, in the case of the License (hereinafter defined), the duration of
      the License pursuant to Section 3 of this Agreement, and, in the case of the Melrose
      Improv License (hereinafter defined), the duration of the Melrose Improv License.
      pursuant to Section 3 of this Agreement.

             "Third Party" means any Person other than Licensor, an Affiliate of Licensor,
      Licensee or an Affiliate of Licensee.

                 2.      GRANT OF LICENSES

             a.      Subject to the terms and conditions of this Agreement, and except as
     herein otherwise provided, Licensor hereby grants to Licensee, for the Term and the
     Territory (as hereinafter defined), the exclusive right, power and license (the
     "License") to use the Trademarks in connection with one or more Clubs (other than the
     Melrose Improv, which is covered by Section 2, b. below), each containing a restaurant,
     bar and nightclub whic.h presents, in a showroom with a minimum of 150 seats, at least
     three nights each week (including Friday and Saturday), entenainment consisting
     exclusively of live, stand-up or sketch comedy performances and live improvisational
     comedy performances substantially as presented at the Melrose Improv during the
     period January 1, 1998 through the date of this Agreement and the right, power and
     license to sub-license Third Parties to do so.           Licensee's License is expressly
     conditioned upon Licensee and its Affiliates and all sub-licensees complying with any
     and all applicable local, state and federal laws, rules or regulations, including but not
     limited to securities laws, franchising laws and alcoholic beverage licensing laws. Any
     sub-license granted by Licensee: (i) shall be subject to this Agreement; (ii) shall not
     grant rights which are broader in any way than the license granted hereunder; (iii) shall
     not grant any television rights nor any merchandising rights, other than the right to seB
     merchandise as herein contemplated; (iv) shall provide that the sub-licensee shall not
     have the right to grant further sub-licenses; (v) shall contain every provision required or


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      implied by this Agreemellt (as when this Agreement states that "Ucensee shall cause all
      Operators [to und<Wake certain actions or to observe certain requirements]"); and (vi)
      shall be subject to Ucensor's prior written approval, which approval shall not be
      unreasonably withheld provided the proposed sub-licensee and each of its Aftiliates is
      financially cap-able and responsible and is not an Affiliate of aJ:lY Person who has been
      convicted of a felony or a crime involving moral turpitude in any jurisdiction.

              b.    Subject fa the terms .and conditions of this Agreement, and except as
      herein otherwise provided, Ucensor hereby grants to Licensee, for the Melrose Improv
      License Term (as hereinafter detined), an exclusive license (the "Melrose Improv
      License") to use the Trademarks at 8156 Melrose Avenue and 8162 Melrose Avenue,
      Los Angeles, California (the "Premises") in connection with a restaurant. bar and
      nightclub which presents, at least three nights each week (including Friday and
      Saturday), entertainment consisting exclusively of live. stand-up or sketch comedy
      performances and live improvisational comedy performance in substantially the same
      manner as such entertainment has been presented by Ucensorat the Melrose Improv
      since January I, 1998.

                 3.          TERM

              a.     The License shall commence on the date of this Agreement and continue
      until May 31, 2019, unless terminated sooner in accordance with the terms of this
      Agreement. Upon termination of this Agreement; the License and the rights granted
      hereunder and the obligations imposed hereunder shall cease. except that Licensee and
      any sub-licensee shall remain liable. for any obligations remaining hereunder including
      obligations accrued as of the date of such .termination and except as otherwise expressly
      set forth herein. On condition that Licensee fully performs all of its obligations under
      this Trademark License Agreement and is not in default, then Licensee shall have the
      option, exercisable by written notice given [0 Licensor after June 1. 2018 and before
      December 1,2018. to extend the License until May 31, 2029.

                 b. The Melrose Improv License shall commence on the date of· this
     Agreement and continue until May 31, 2019. unless terminated sooner in accordance
     with the terms of this Agreement. Upon termination of this Agreement, the Melrose
     Improv License and the rights granted hereunder and the obligations imposed hereunder
     shall cease, except that Licensee shall remain liable for any obligations remaining
     hereunder including obligations accrued as of the date of such termination and except as
     otherwise expressly set forth herein. On condition that Licensee fully performs all of
     itS obligations under this Trademark License Agreement and is not in default, then
     Licensee shall have the option, exercisable by written notice given to Licensor after
     June 1, 2018 and before December 1,2018, [0 extend the Melrose Improv License until
     May 31,2029.




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            I   c..  Any sub-ficense granted during the Term may be for an initial term of
      twenty (20) years tnd may give the sub-licensee the option to extend the term of the
      sub-license for an additional ten (10) years all on condition that at all times the sub-
      licensee fully perform all of its obligations under the sub-license, including such
      obligations as shall be required by this Agreement.

                d.     Licensor, for itself and its Affiliates. hereby expressly reserves all of its
      rights and interests under and with respect to: (i) all agreements listed on Schedule 3-1
      attached hereto (relating to rights of Third Parties to use the Trademarks in connection
      with Clubs). all amendments, extensions and renewals of such agreements. and all fees
      or other amounts required to be paid thereunder; (ii) any direct or indirect ownership or
      other interest in any Club now or at any time hereafter operated at any location covered
      by the agreements listed on Schedule 3-1 (such interests to include, without limitation. a
      profit participation or royalty interest in such Club. any direct ownership of such Club.
      or the ownership of stock, partnership or joint venmre interests. interests in limited
      liability companies and the like, in entities owning or controlling any such Clubs); and
      (iii) all other rights of Licensor provided for herein or otherwise; and (iv) any and all
      other rights of any nature in respect of or in connection with the Trademarks. including
      but not limited to television (except as otherwise herein provided), radio, motion
      picture. merchandising (except as otherwise herein provided). sound recording.
      publishing, computer game, internet, on-line computer network, live performance
      rights (regardless of where live performances are presented) and the right to use the
      Trademarks on cruise ships (regardless of the point of origination or termination of the
      cruise).

                4.       TERRITORY

              The territory within which Licensee may exercise the rights herein granted (the
      "Territory") shall mean the 48 contiguous continental states of the United States with
      the following exceptions:

              a.     Certain pre-existing agreements to which Licensor and/or its Affiliates
      are parties contain covenants restricting the right of Licensor and/or its Affiliates and
      licensees, to own or operate a restaurant, bar, or nightclub or otherwise use the
      Trademarks as provided in such agreements (the ".Restrictive Agreements"). The
      Restrictive Agreements are listed on Schedule 4-1 attached hereto. Licensee hereby
      acknowledges that it has received and read copies of certain portions of the Restrictive
      Agreements which create restrictions on Licensor. Before ,opening any Club and before
      entering into any sub-license that might reasonably be expected to violate or cause
      Licensor or it Affiliates to be in violation of any of the Restrictive Agreements,
      Licensee agrees that it shall provide written notice of its intention to do so and the
      details thereof to Licensor. Licensor shall, within 30 days following receipt of any
      such notice, advise Licensee whether or not the proposed Club or sub-license might
      violate any of the Restrictive Agreements listed on Schedule 4-1. If Licensor


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      det4rminiiand advises Licensee that the proposed Club or sub-license might result in a
      violation of a Res.ictive Agreement. Licensee agrees that it shall not open such Club
      and/or grant the sub-license until after expiration (if applicable) of the Restrictive
      Agreement in question, and then only in accordance with the provisions of this
      Agreement. If Licensee disagrees with Licensor's determinatioil. and the parties are
      unable to negotiate a resolution, then they shall submit the issue to arbitration in the
      same manner as provided in section 22 of this Agreement.

              b.     Licensee may not open and may not grant sub-licenses in respect of any
      Club in the State of Nevada or in Or within a 25 mile radius of Tunica. Mississippi.
      Subject to the preceding sentence and the other provisions of this Agreement, Licensor
      and Licensee may each own or operate (but Licensee may not sub-license) a Club in
      any other area or in any other venue (such as riverboats) in which gambling is legal
      provided that the other party has not first opened a Club in such area, or provided, in
      the case of Licensee. that .Licensor is not otherwise using the Trademarks in such area
      (e.g. as by presenting shows or other entenainment).

               5.       MANNER IN WHICH THE TRADEMARKS SHALL BE USED

              Licensee shall observe and confonn. and shall cause its Affiliates and sub-
      licensees and their Affiliates, to Observe and conform to the following requirements and
      requirements with respect to the use of the Trademarks, each of which requirements are
      of the essence of this Agreement:

             a.      Unless Licensor in each instance otherwise specifically and in Writing
      agrees, the Trademarks shall be used in substantially the same manner as. the
      Trademarks are now used at the Melrose lmprov, and the typeface and format of all
      such uses, including but not limited to exterior signs, shall be substantially identical to
      that used for the Trademarks at present in corresponding ways and places at the
      Melrose Improv.

              b.      If any of the Trademarks is used at any Club at which there is a Non-
      Improv Area at which another name or trademark (such as a restaurant name) is used to
      identify the business carried on there, the Trademarks shall be given signage at least
      equal in s.ize and prominence to the signage of the name and trademarks such other
      business to the extent applicable zoning laws and regulations allow, unless otherwise
      agreed on a case by case basis. No tradename other than "the Improv" or "the
      Improvisation" shall be used at 8162 Melrose Avenue, Los Angeles, CaI·ifornia.

            c.      Admission shall be charged for any Jive performance at any Club. The
      amount of such admission shall be comparable to the charges at present imposed at the
      Melrose Improv and other Clubs covered by the agreements listed on Schedule 3-1 or
      as may in the future be imposed by any of the Clubs covered by the agreements listed
      on Schedule 3-1. In addition to the admission charge. there shall be a two drink


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      miQiinunvr equivalent n:inimum food. servi~e minimum)., Uq~or, beer, .wine an.d
      food service shallt"be avaI.1able at all urnes In the room In which entertamment IS
      presented.

            d.      Such further conditions and requirements as may be set forth on any
      Schedule 5-1 attached hereto,

                  6.          LICENSE FEES AND ROYALTIES

             a.     Upon execution of this Agreement, Licensee will pay Licensor an initial,
      non-refundable license fee of $25,000 for the Melrose lmprov License, Such initial,
      non-refundable license fee shall not be applicable to any other fees or royalties payable
      under this Agreement.

             b.      Two weeks before the opening of any Club, which is owned or operated
      by Licensee or by an Affiliate of Licensee, Licensee shall pay Licensor an initial, non-
      refundable license fee in respect of such Club, of $25,000. Against and in reduction of
      the fees payable pursuant to this Section 6. b. I Licensee shall pay Licensor a non-
      refundable· advance of $50,000 upon execution of this Agreement, and a further non-
      refundable advance of $50,000 on June 1,2000.

              c.     In addition to the initial license fee payable pursuant to Section 6.a.
      above, Licensee will pay Licensor for the Melrose lmprov License a royalty of 3 1/2%
      of the Adjusted Gross·Sales at the Melrose Improv and all business owned or licensed
      by Licensee at the Premises (Le.• including but not lImited to the business of any Club
      operated there). Such royalty shall be accounted for weekly, and paid in the week
      following the week for which accounting is made, except that if Second City or a
      similar business opens at 8156 Melrose Avenue, then, upon the opening of such
      business, the amount due in respect of such business located at 8156 Melrose Avenue
      shall be $500 per month, payable on the first of each month, rega1dless of the Adjusted
      Gross Receipts or lack thereof of such business.

             d.     In addition to the initiallic~nse fee payable pursuant to Section 6.b.
      above, Licensee will pay Licensor 'a royalty equal to the percentage set forth on the
      following table of the Adjusted Gross Sales of each Club, other than the Melrose
      Improv, which is opened, owned and operated by Licensee ot an Affiliate of Licensee:




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                                    Club                        Royalty Rate

                   First 15 Clubs                                                4%

                   Each Club after 15 dl Club. up to
                   2S u, Club                                                  3.5%

                   Each Club after 25 1h Club                                    3%

      For purposes of determining the applicable royalty rate under the preceding table. the
      Melrose Improv shall not count towards the number of Clubs. The applicable royalty
      shall be paid weekly I in respect of the preceding week. Notwithstanding the foregoing
      provisions of this Section 6.d.• royalties for a Club shall not be payable fora period of
      three months following the opening of such Club on condition that Licensee uses the
      royalties otherwise payable, in addition to at least an equivalent amount provided by the
      Operator of such Club, to promote and advertise such Club and accounts to Licensor
      for the amountS so paid for promotion andadvenising.

             e.     In the case of Clubs which are owned and operated by Operators other
      than Licensee or its Affiliates:

             (i)    Licensee shall cause such Operators to pay a royalty based upon the
      Adjusted Gross Sales of each such Club. Such royalty shall be divided equally between
      Licensor and Licensee, except that I:.icensor shall be entitled to a royalty rate of at least
     2 Ih%.

                 For example: If an Operator other than Licensee or its Affiliates pays a
                 royalty rate of 5 %, Licensor shall receive a royalty rate of 2 Ih %. If an
                 Operator other than Licensee or its Affiliates pays a royalty rate of 6%,
                 Licensor shall receive a royalty rate of 3%. If an Operator other than
                 Licensee or its Affi Hates pays a royalty rate of 4 %, Licensor shall
                 receive a royalty rate of 2 III %.

             (ii)    Licensee shall pay Licensor an amount equal to the greater of (A) fifty
     percent (50%) of any other amounts paid by such Operators to Licensee or its
     Affiliates, as and when paid, after Licensee recoups from 100% of such other amounts
     an amount equal to all training and opening expenses incurred by Licensee in
     connection with the Improv area of such Club or (B) $12,500 upon the opening of such
     Club.

     All sub-licenses shall contain provIsions wilhrespect to accounting, payment and
     default substantially eqUivalent to the provisions of this Agreement and shall name
     Licensor as a third party beneficiary of such sub-licenses. Unless L,icensee itself pays


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       Liy'@sorM full amount of royalties due pursuant to this Agreement, Licensee shall
       came su.Operators to account for and pay directly to Licensor Licensor's share of
       such royalties and other amounts.

                  7.         MERCHANDISING

             Licensee shall have the following merchandising rights with respect to the
       Trademarks and no others.

              Licensee shall have the right to create, subject to Licensor's approval, which
       approval shall not be unreasonably withheld, merchandising items in the categories set
      forth on Schedule 7~ I (the "Items") for sale only at Clubs or in restaurants owned,
      operated or sub-licensed by Licensee or its Affiliates. Licensee shall offer approved
       merchandising items for sale, as aforesaid, in a manner similar to the way that
      merchandising items have been offered and sold at the Melrose Improv from January 1,
      1998 to the date of this Agreement,. in the Improv area of all Clubs owned or operated
      by Licensee or any Affiliate of Licensee. Licensee shall require as a condition of every
      sub-license that the sub-licensee offer approved merchandising items for sale to the
      public, in such similar manner, and shall manufacture and sell approved merchandising
      items at an appropriate and reasonable wholesale price to all Operators for such
      purpose. Licensee shall permit Licensor to purchase any quantity of the Items, for its
      own use or for resale, at Licensee's cost. Licensee shall itself account, and shall cause
      all Oper;ltors to account, to Licensor and pay Licensor, on a monthly basis, a royalty
      equal to three and One half percent (3-1/2%) of the gross retail sales price of each
      merchandisIng item .sold in any Club during the preceding month and a royalty equal to
      ten percent (10%) of the gross retail sales price of each merchandising item sold outside
      of a Club during the preceding month. The sales price for each Item as to which
      Licensor receives a royalty shall not be included in Adjusted Gross Sales..

                 8.         TELEVISION

              a.      If, in connection with any television, radio, or internet program or series
      of programs that Licensor produces, it wishes to use as a location the Melrose Improv
      or any other Club operated by Licensee or an Affiliate of Licensee, Licensor shall have
      the right to do so on such rental terms as are reasonable and customary· for the use of
      such a facility and as shall be negotiated in good faith.

              b.     Licensor agrees that if it wishes to produce any television program or
      series oJ programs for initial exhibition on broadcast television in the United States
      using the Trademarks or any radio or internet program or series of programs using the
      Trademarks, it shall afford Licensee the right of tirst refusal to finance such program or
      series of programs. Such right of first refusal shall mean that if Licensor is interested
      in such program or series, it shall by notice to Licensee offer Licensee the opportunity
      to finance such program or series and, if Licensee notifies Licensor within one week of


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      th_c_of such notice that .it is interested in financing such program or series,
      Li~soPilrall negotiate with Licensee the terms and conditions upon which Licensee
      would make such financing commiunent. If a mutually satisfactory agreement is not
      reached within three weeks of the date Licensor first sends notice, then Licensor shall
      be free to enter into any agreement for the financing of such program or series. In the
      event of a Uhot offer", the foregoing time periods, respectively, shall be shonened to
      three days and one week. If Licensee at any time develops a concept or program idea
      by its own efforts or because Licensee opens a Club in a new city and/or a local entity
      approaches Licensee to do a show, then Licensee may do so subject to complying with
      procedures outlined in section B.c. If, however, a national network or cable service or
      national program producer asks Licensee to do a show at any Club located in Los
      Angeles, or if anyone approaches Licensee to do a show by reason of the fact that
      Licensee is operating a Club in Los Angeles, then this paragraph shall not apply.

              c.     The following Shall apply beginning three years after the Closing Date:
      If Licensee wishes to produce any television program or series of programs for initial
      exhibition on broadcast television in the United States or any radio or internet program
      or series of programs, it may do so beginning three years after the Closing Date.
      provided it shall offer Licensor the opportunity to function as the production company,
      on terms and conditions appropriate to the program, in keeping with customary industry
      standards,and as shall be negotiated in good faith. If Licensor chooses not to be the
      production company, then Licensee shall instead pay Licensor a "packaging fee" in
      connection with such program or series of programs in the same manner as the
      "packaging fees" customarily paid to the William Morris Agency on the formula known
      as "10; 5 and 5", meaning Licensor shalf receive ten percent (10%) of the license fee,
      payable out of the buqget of the program, five percent (5%) of .all syndication sales and
      five percent (5 %) of the net profits: Beginning three years after the Closing Date, if
      Licensor finances and produces a television program or series of programs for initial
      exhibition on broadcast television in the United States using the Trademarks or any
      radio or internet program or series of programs using the Trademarks, it will pay
      Licensee a similar "packaging fee".

                9.        .LICENSEE'S COVENANTS

             a. Licensee shall submit to Licensor as soon as available but not later than
     ninety (90) days after Licensee's fiscal year, complete financial statements for such.
     year for Licensee and for each Affiliate of Licensee which owns or operates one or
     more Clubs. Licensee shall certify them to be true and correct and to have been
     prepared in accordance with generally accepted accounting principles consistently
     applied. and any materially false or inaccurate cenification shall be a breach of this
     Agreement. Licensor may also request, from time to time, information with respect. to
     gross operating profits percentages and certain operating statisticS for each such Club,
     and Licensee shall provide such information within a reasonable time after any such
     request. Licensor shall cause each Operator which is a Third Parry to submit to


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      L.or8;oon as available but not laterthan ninety (90) days after such Operator's
      fiscal y~ complete financial statements for such year for such Operator. The
      respective Operator shall certify them to be true and correct and to have been prepared
      in accordance with generally accepted accounting principles consistently applied. and
      any materially false or inaccurate certification shall be a breach of such Operator's sub-
      license and a breach by Licensee of this Agreement. Licensor may also request, from
      time to time, that Licensee cause each Operator which is a Third Party to provide
      information with respect to gross operating profits percentages and certain operating
      statistics for each Club, and Licensee shall cause such information to be provided
      within a reasonable time after any such request.

              b.     Licensee acknowledges that the Licensor is the sole and exclusive owner
      of the Trademarks and that nothing contained in this Agreement shall be construed to
      convey any rights or proprietary interest in the Trademarks to Licensee other than the
      specific licenses granted hereunder. Licensee shall cause each Operator to make a
      similar acknowledgment. Licensee covenants that it shall not at any time challenge or
      contest the validity, ownership, title or registration of Licensor in and to the
      Trademarks or the validity of the licenses granted under this Agreement. Licensee shall
      cause each Operator to make a similar covenant.

              c.    ' Licensee covenants promptly to notify Licensor, and to cause each
      Operator promptly to notify Licensor, of any suspected infringement of, or challenge to
      the validity of ownership of or the right of Licensor to use the Trademarks licensed
      hereunder. Licensee acknowledges; and will cause each Operator to acknowledge,
      Licensor's right to control any administrative proceeding or litigation involving the
      Trademarks. Licensor is not obligated by this Agreement or otherwise to protect any
      rights granted to the Licensee to use the Trademarks, or to protect the Licensee against
      claims of infringement or unfair competition, provided however, that if Licensor elects
      not to act, and if action is reasonably necessary to protect Licensee's rights in the
      Trademarks, Licensee may, upon notice to Licensorj act in Licensor's place, and may
      recoup the cost of doing so from any royalties Ibereafter payable hereunder. In the
      event Licensor undertakes the defense or prosecution of any litigation relating to the
      Trademarks, Licensee agrees, on behalf of itself and its Affiliates, and Licensee shall
      cause each Operator to agree, on behalf of itself and its Affiliates, to execute any and
      all documents and to do such acts "and things as may in the opinion of Licensor be
      necessary to carry out such defense or prosecution.

             d.       Licensee agrees that Licensor may enter any Club at any time during
      regUlar business hours for purposes of reviewing Licensee's operation in general, to
      assure compliance with the standard of quality established by Licensor for goods sold
      and services provided under in connection with the Trademarks. Licensor shall cause
      all Operators to afford Licensee such right of entry.




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        Q....                                                                                  12
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         ,) eA All royalties due pursuant to this Agreement shall be paid weekly in
       respect ~-,.re preceding week.' Unless Licensee itself pays Licensor the full amount of
      royalties due pursuant to this Agreement, Licensee shall cause all Operators to pay
      directly to Licensor any royalties due to Licensor on a weekly basis in respe~t of the
      preceding week. Once each month, Licensee shall submit to Licensor a repon (the
      "Monthly Report") setting forth, in reasonable detail, and with respect to each separate
      Club (including Clubs owned and operated by Third Parties): (i) the amount of gross
      receipts received by each such Club, brOken down by type of income (such as
      restaurant receipts, bar receipts, showroom admissions, etc.); (ii) the amount of
      permissible deductions from such gross receipts to reach Adjusted Gross Sales pursuant
      to this Agreement; (iii) a calculation of the royalties payable; and (iv) a reconciliation
      of the royalties payable with the amounts theretofore paid weekly. A separate Monthly
      Report shall be prepared and submitted to Licensor for the Melrose Improv. Licensee
      will cause each Operator to prepare and supply the foregoing information for each Club
      that such Operator owns or operates. Each Monthly Repon submitted to Licensor in
      accordance with the provisions of this Section shall be certified on behalf of Licensee
      by its Chief Financial Officer. as being true and correct in all material respects. All
      information supplied by an Operator which is a Third Party .shall be certified on behalf
      of such Third Party by its Chief Financial Officer as being true and correct in all
      material respects. Each Monthly Report shall be accompanied by the payment shown
      thereon to be due to Licensor.

                 f.   Licensee shall maintain,' and shall cause each Operator to maintain,
      accurate books and records sufficient, for all purposes, for the preparation of the
      Monthly Repons, and to verify the information contained therein, and otherwise to
      calculate the royalties required to be paid pursuant to this Agreement. Licensee shall
      grant to Licensor and each of its agents, accountants; employees and other authorized
      representatives. full and complete access to all books and records of Licensee relating to
      this Agreement. and shall cause each Operator to do so with respect to the Clubs that
      they respectively own or operate. To the extent such information is contained in
      electronic storage media, Licensee agrees to provide, and to cause each Operator to
      provide, upon request of Licensor, hard copies of all such data. Any investigation or
      audit conducted by Licensor, or their respective employees or agents shall be upon
      reasonable prior written notice and during normal business hours and shall be
      conducted in a manner so as to minimize disruption of the operations of Licensee or the
      Operator being audited. If, as a result of any such investigation or audit, Licensor shall
      determine that the amount of royalties theretofore paid to Licensor pursuant hereto is
      less than the amount required to have been paid, Licensee or the Operator responsible
      for the underpayment. as the case may be, shall promptly remit the deficiency to
      together wj[h a late payment fee of 10% of the amQunt of the underpayment. Licensor
      shall cause all Operators to agree to payment of s.uch a late payment fee in the case of
      any underpayment. In addition, .if any such investigation or audit discloses an
      underpayment to Licensor for any monthly period of five percent (5 %) or more,
      Licensee or the Operator responsible for the underpayment, as the case may be, shall


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      p~r.\nburse ~icensor for all reasonable costs and expenses incurred by Licensor·
     in cond~g- such investigation or audit for all periods then being investigated or
     audited. Licensor shall cause all Operators to agree to such reimbursement in such
     event.

              g.     Licensor will maintain, and will cause all Operators to maintain,
     insurance customary to the operation of businesses such as the Clubs, including general
     liability insurance, and will add the persons listed on Schedule 8-3 of the Asset
     Purchase Agreement as additional insureds.

             h.     Licensor will.provide Budd Friedman and his assistant with office space
     at the Premises or other location to which the "Improv Flagship"(as defined in section
     9.1.) may be moved as provided by section 9.1., comparable in size, furnishing and
     amenities to the office which Budd Friedman has at the Melrose Improv as of the date
     of this Agreement. for the entire duration of the time which Licensee or any of its
     Affiliates occupies the Premises, free of any charge. Such office shall include light,
     heat, air conditioning, local telephone service and the continued use of all office
     equipment used by Budd Friedman in his office as of the date of· this Agreema.~, all
     without charge.

              i.      Licensee shall allow Mark Lanow to use the main showroom or other
     facilities at the Melrose Improv or other location to which the "lmprov Flagship" (as
     defined in section 9.1.) may be moved as provided by section 9.1., on up to three
     mutually agreed dates each year. tor the entire duration of the time which Licensee or
     any of its Affiliates occupies the Premises, for purposes of "graduation" ceremonies
     and celebrations for his acting students, all without charge. Licensee shall allow Mark
     Lanow to showcase acts at the Melrose Improv as he has in the past.

             j.       Licensee shall not own or operate, and Licensee shall ensure that none of
     its Affiliates shall own or operate any bar, restaurant, nightclub or other facility which
     presents live stand-up or sketch comedy performances or live improvisational
     performances, other than the Melrose Improv or a Club, or Second City.

           k.     Licensee will fulfill the schedule set forth in section 12.a. of this
     Agreement, and pay the advances set forth in section 12.b. of this Agreement

              I.     For the duration of the Melrose lmprov License, Licensee will operate a
      restaurant, bar and nightclub under the name "the lmprov", or "the Improvisation", at
      8162 Melrose Avenue, Los Angeles, California which presents, at least three nights
      each week (inclUding Friday and, Saturday), entertainment consisting exclusively of
      live. stand-up or sketch comedy performances and live improvisational comedy
      performance in substantially the same manner as such entertainment has been presented
    . by Licensor at the Mel rose Improv since January 1, 1998, Q!:9vided however, that
      Licensee may move such business (the "lmprov Flagship") to another location within


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      t.     .,.. Los Angeles with Licensor's consent, which consent shall not be
      un a s o . withheld. If Licensee determines that the "Improv Flagship" (regardless
      of its location) is not financially viable, then it may sublease the location (it being
      understood that the business of the "lmprov Flagship" may not be sublicensed or
      assigned) provided that Licensee firs.t by notice offers to assign to Licensor all its rights
      to the "ImpI'ov Flagship" and to sublease the Premises (or other location to which the
      "Improv Flagship" may be moved) to Licensor for no cost other than the cost of
      inventory on hand. Licensee shall cause the Lessor of the Premises (or other location
      to which the "Improv Flagship" may be moved) to insert into the lease for the Premises
      (or other location, as the case maybe) a clause stating that if Licensee elects to sublease
      to Licensor, the Lessor will approve such sublease.                          .

                    10.       REPRESENTATION AND WARRANTIES OF LICENSOR

             Licensor represents and warrants to Licensee that as of the date of this
     Agreement it is a corporation duly organized, validly existing and in good standing
     under the laws of the State of California and has full corporate power and authority to
     enter into this agreement and to carry out the transactions contemplated hereby. The
     execution and delivery of this Agreement and the consummation of the transactions
     contemplated hereby by Licensor have been duly and validly authorized by all
     necessary corporate·action of Licensor.

                   11.        REPRESENTATIONS AND WARRANTIES OF LICENSEE

              a.     Each constituent entity of Licensee has taken all corporate and/or other
     action necessary to authorize the execution and delivery of this Agreement and the
     transactions contemplated hereby, and this Agreement are a valid and binding
     obligations of each constituent ent~ty of Buyer, in accordance with its terms. Each
     constituent entity of Buyer has all necessary corporate or other power and authority to
     enter into this Agreement, and to consummate the transactions provided herei~.
     Neither the execution and delivery of this Agreement, nor the consummation of the
     transactions contemplated herein will constitute a violation or breach of (i) the Articles
     of Incorporation or Bylaws of or other organizational or governing documents of the
     respective constituent entity of Buyer, (ii) any provision of any contract or other
     instrument to which any constituent entity of Buyer isa party or by which the business,
     assets or properties of any constituent entity of Buyer may be affected or secured, or of
     (iii) any order, writ, injunction, decree, statute, rule orregulation.

              b.      All representations and warranties of Licensee under the Asset Purchase
      Agreement (in which document Licensee is identified as "Buyer") are incorporated
      herein as if here set forth in full.




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                    The                 fi~ancial
                                   statements previ6usly delivered for each constituent entity
       o~;         true and complete and have been prepared in accordance with· generally
      accepted accounting principles consistently applied throughout the periods indicated.

                  12.        EVENTS OF DEFAULT

                  It shall constitute an event of default ("Event of Default") if anyone or more of the
      tollowing shall occur for any reason:

              a.      The· following schedule shall not be fulfilled: Licensee and/or its
      Affiliates will open, own and operate at least three (3) Clubs, in addition to the Melrose
      Improv. on or before June 1, 2001, all of which shall remain open as of such date, and
      beginning June 1, 2001 ,Licensee and/or its Affiliates will open, own and operate at
      least two (2) new Clubs each year, so that the cumulative number (net of any Clubs
      which close) open and operated by Licensee and/or its Affiliates will be increased by
      two each year (i.e. at least 5 by Match 1,2002, at least 7 by March 1,2003, etc.) (for
      the avoidance of doubt, Clubs owned or operated by Third Parties shall be disregarded)
      until a cumulative total of twelve (12) Clubs are open;

             b.     Licensee shall fail to pay on June 1,2001, and on each June 1 thereafter,
      as a non-refundable advance against the license fees which shall become due pursuant to
      section 6.b. of this Agreemen~, the sum of $50,000, until a cumulative total of
      $300.000 has been paid pursuant to section 6. b. of this Agreement;

             c.     Licensee shall fail to pay any amount which this Agreement requires
      Licensee to pay to Licensor when the same becomes due;

              d.    Any representation or warranty made by Licensee in this Agreement or
      by Licensee in the Asset Purchase and Sale Agreement or in any report furnished by
      Licensee at any time to Licensor shall prove to be untrue in any material respect as of
      the date on which made or furnished;                               .

             e.     Licensee's failure to perform or observe, or Licensee's breach of, any
      material agreement or material covenant under this Agreement or the Asset Purchase
      and Sale Agreement;                 .

               f.      Any of the entities comprising Licensee shall become insolvent, or admit
      in writing its inability to pay its debts as they mature, or make an assignment for the
      berietit of creditors, or apply for or consent to the appointment of a receiver or trustee
      for it or for a substantial part of its property or business, or if such a receiver or trustee
      otherwise shall be appointed; provided however, that none of the foregoing shall
      constitute an Event of Default· so long as Licensee continues to fulfill in a timely
      manner all of its obligations under this Agreement;



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                       Any money, judgment, writ or warrant of attachment, or similar process
                         or filed against any of the entities comprising Licensee, or any material
        portion of their respective assets and shall remain unvacated, unbonded or unstayed for
        a period of thirty (30) days, if the amount of exposure exceeds Five Hundred Thousand
        Dollars ($500,000);

                h.      Subject to any applicable limitations of the Bankruptcy ACt, an
        involuntary bankruptcy, insolvency, reorganization or liquidation proceedings or other .
        proceedings for relief under any bankruptcy law or any law for the relief of debtors
        shaH be instituted against any of the entities comprising Licensee, and such proceeding
        shall not be dismissed within sixty (60) days after its commencement;

                 i.     Subject to any applicable limitations of the Bankruptcy Act, a
        bankruptcy, insolvency, reorganization or liquidation proceedings or other proceedings
        for relief under any bankruptcy law or any law for the relief of debtors shall be
        instituted by any of the entities comprising Licensee;

               j.    Any party other than Licensor shall deny that it has any further
       obligation under this Agreement or the Asset Purchase and Sale Agreement or any
       other instrument delivered hereunder or thereunder;

              k.     Licensee shall fail to, or fail to confirm in writing, upon request by
       Licensor, to Licensor that it shall, perform or observe, or cause to be performed or
       observed, any material covenant or agreement contained in this Agreement or the Asset
       Purchase and Sale Agreement;

               I.     The abandonment of the License or the Melrose Improv License,
       including but not limited to any failure by Licensee to observe and perform the
       covenants set forth in section 9.1. of this Agreement; or

                 m.       Any default by Licensee under the Asset Purchase Agreement.

                  13.      REMEDIES FOR EVENTS OF DEFAULT

                a.      If an Event of Default exists, and if such Event of Default is susceptible
       of Cl.lre, Licensor shall give written notice thereof to Licensee and Licensee shalI have
       thirty (30) days to cure such Event of Default. It is agreed that any failure of Licensee
       to fulfill the schedule set forth in section I2.a. shall be an Event ·of Default which is not
       susceptible of cure. If an Event of Default which is susceptible of cure is not cured
       within thirty (30) days after such notice, but Licensee is in good faith taking affirmative
       action (0 cure such default, the time period for doing so shall be extended for such time
       as reasonably and necessary to cure such default, or if the Event of Default is not
       susceptible of cure, then Licensor may, in irs respective discretion, do anyone or more
       of the following at any time or times. and in any order, upon notice to Licensee:


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        4)                                                                                               17



        .<l)                 Terminate this Agreement and/or the Melrose Improv License
       andlor the License for anyone or more Clubs;

                            (2)        Terminate the merchandising rights granted hereunder;

                        (3)   Change the License from an exclusive to a non-exclusive license
       and proceecl to open Clubs itself free of any restriction this Agreement may otherwise
       impose andlor grant licenses to Third Parties to own and operate Clubs, free of any
       restriction this Agreement may otherwise impose;

                      (4)    Rescind the Asset Purchase Agreement, in which event all Assets
       sold, transferred and assigned thereunder shall· immediately be sold, transferred and
       assigned to Licensor and Licensor shall refund the Purchase Price (as defined in the
       Asset Purchase Agreement);

                            (5)        Terminate Licensee's rights to own or operate new Clubs; andlor

                     (6)    Terminate Licensee's rights to grant Third Parties the right. to
       own or operate Clubs.

                b.       Notwithstanding the above enwnerated remedies, in the event Licensee
       failS to fulfill the schedule set forth in section 12.a., Licensor's sole remedy shall be as
       follows. Upon notice to Licensee, Licensee shall lose the right, power and License (i)
       to use the Trademarks in connection with any Clubs which are not, as of the date of
       such failure, under construction or open for business and operated by Licensee, an
       Affiliate of Licensee or other Operator and (ii) to sub-license Third Parties use the
       Trademarks in connection with any new Clubs. This section 12. b. shall have no effect
       upon any other remedies available to Licensor by reason of any other Event of Default,
       except that the payments due pursuant to sections 6.b. and l2.b. shall be due only with
       respect to Clubs which in fact open. If any Event of Default results only from the
       actions or failure to act of a Third Party as required under a sub--Iicense, only the-rights
       of such Third Party shall be subject to the remedies contained in this section 13.
       Except for failure to comply with the schedule set forth in section 12.a., if Licensee by
       its· action or inaction permits any other Event of Default to exist and Licensor
       terminates any right, power or license of Licensee, Licensor shall not for such reason
       alone terminate the rights of any Third Party sub-licensee provided such Third Party
       sub-licensee is in full and timely compliance with aU of its obligations under its
       respective sub-license, including such obligations as shall be required by this
       Agreement and provided Licensee assigns to Licensor all of Licensee's rights under
       such sub-license. In addition to the above enumerated remedies, if an Event of Default
       exists pursuant to section 12.1. of this Agreement, Licensee may require Licensor to
       sublease the Premises, or other location to which the "Improv Flagship" may have been
       moved, [0 Licensee for the balance of the lease term and any extensions, at a rent that


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                                         by Licensee. In addilion. Licensor may require Licensee
                         fixtures, equipment and inventory of the Improv Flagship to Licensor for
          the value of the on-hand inventory alone.

                  c.    Upon termination of the license for any Club, Licensee shall do the
          following, or shall cause the applicable Operator, as the case may be, to do the
          following with respect to such Club:

                         (1)   take whatever 'action is necessary to assure that no use is made of
           any of the Trademarks;

                         (2)    remove an distinctive signs, change the telephone listing and
          remove of all items bearing the Trademarks;

          If any of the foregoing is not done within thirty (30) days after termination of the
          license for such Club, Licensor may cause the same to be done by Licensor or its
          agents, who may enter upon the premises of the Club for that purpose, at the expense
          and for the account of Licensee who may enter upon the premises of the Club for that
          purpose. Licensor will cause its Affiliates and each Operator and its Affiliates to agree
          to the foregoing right of entry.

                   d.     The enumeration herein of Licensor's rights and remedies is not intended
          to be exclusive, and such rights and remedies are in addition to and not by way of
          limitation of any other rights or remedies that Licensor may have under the uee or other
          applicable law. Licensor shall have the right, in its sole respective discretion, to
          determine which rights and remedies are to be exercised and in which order. The exercise
          of one right or remedy shall not prec!ude the exercise of any others, all of which shall be
          cumulative. Licensor may, without limitation, proceed directly against Licensee to collect
          the any amount due under this Agreement or the Asset Purchase and Sale Agreement.
          without any prior recourse to the Collateral.

                  e.     No failure or delay on the part ·of Licensor in the exercise of any power,
.'"   .
          right, remedy or privilege under this Agreement or the Asset Purchase shall operate as
          a waiver thereof, nor shall any single or partial exercise of any such power, right,
          remedy or privilege preclude any other or further exercise thereof or of any other right,
          power, remedy or privilege. All rights and remedies existing under this Agreement or          ~   .
          the Asset Purchase and Sale Agreememare cumulative to, and not exclusive of, any              "
                                                                                                            I

          rights or remedies otherwise available.

               14.  CERTAIN PROVISIONS RELATING TO OPERATORS OTHER
          THAN LICENSOR

                 In all instances in which this Agreement recites that Licensee will cause
          Operators to agree to perfonn in certain ways, or to observe certain requirements or


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       ,~-              icense;will insert   .p~ropli.te   provisions in its agreement or agreements
      _ r a t o r , and will expressly provide that Licensor is a third party beneficiary
      of such provision. Licensee wUl insert, for the benefit of Licensor, provisions in its
      agreement or agreements with each Operator stating that if such Operator fails to pay
      any amount which this Agreement requires such Operator pay to Licensor when the
      same becomes due, or fails to perform or observe any material agreement or material
      covenant under required or described by this Agreement, then Licensor may terminate
      such Operator's license to own or operate any Clubs owned or operated by such
      Operator.

               15..      SURVIVAL

                      All representations, warranties, covenants and agreements made by
      Licensor or Licensee in this Agreement or the Asset Purchase Agreement shall survive
      the termination of this Agreement, including the agreements to indemnify any party,
      and shall, except to the extent specifically limited elsewhere in this Agreement, be
      perpetual in term. The various provisions of this Agreement shall. be severable, and the
      non-enforceability of one shall not affect the enforceability of any others.

               16.       INDEMNITY

              a.      Licensee shall appear, defend, indenmify and hold Licensor hannless
      from and against any claims, liability, damage, deficiency or expense (including
      reasonable attorneys fees) sustained by Licensor in connection with any business carried
      on by Licensee, or any of its Affiliates, or any Operator, or any Operator's A'ffiliates in
      connection with any Club excepting only claims of Third Parties challenging the right
      of Licensor, Licensee, any of Licensee's Affiliates, any Operator or any Operator's
      Affiliates rights to use the Trademarks in connection with any Club as provided in this
      Agreement.                                           .

              b.     Each party shall appear, defend, and indemnify and hold the other
      harmless from and against any claims, liability, damage, deficiency or expense
      (inclUding reasonable attorneys fees) sustained by the other as a result of any
      misrepresentation, breach of warranty .or nonfulfillment of any agreement or
      understanding of the parties under this Agreement, whether arising before or after the
      Closing.

               17.       ENTIRE AGREEMENT

             This Agreement and the Asset Purchase Agreement contain the entire agreement
      of the parties hereto with respect to the transactions contemplated hereby, and all prior
      and contemporaneous negotiations, understanding and agreements are merged herein.
      This Agreement may not be amended, supplemented or otherwise modified except by



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                 18.
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                             WAIVER
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                        ,e· in writing signed by the pa\:..ties hereto. This Agreement may be executed
                                                                       .



             The failure of any party to enforce any condition Or part of this Agreement at
      any time shall not be construed as waiver Qf that condition or part nor shall it forfeit
      any rights to future enforcement thereof.

                19.         APPLICABLE LAW·

            This Agreement shall be governed by and subject to the internal laws or the
     State of California.

                20.         SURVIVAL

            This Agreement shall extend to and be binding upon each of the parties hereto
     and their successors and permitted assigns. All representations, warranties, covenants
     and agreements made herein shall survive any termination of this Agreement by
     Licensor.

                21.         ASSIGNMENT

            This Agreement may not be assigned by Licensee without the prior written
     consent of Licensor, which Licensor may grant or withhold in· its sale discretion.

                22.         ARBITRATION

             All disputes relating to or atising under this Agreement or the Asset Purchase
     Agreement shall be resolved by arbitration in Leis Angeles, California in accordance
     with the commercial arbitration rules of the American Arbitration Association. In any
     such arbitration, the parties shall be entitled to discovery in the same manner as if the
     dispute were being li'tigated in Los Angeles Superior Court. Notwithstanding this
     agreement to arbitrate. the parties, in addition to arbitration, shall be entitled to pursue
     equitable remedies and agree that the state and federal courts shall have exclusive
     jurisdiction for such purpose. and for the purpose of compelling arbitration andlor
     enforcing any arbitration award. The parties agree to submit to the jurisdiction of such
     courts and agree that service of process in any such action. may be made by certified
     mail. The prevailing party in any arbitration or action to enforce this Agreement or the
     Asset Purchase Agreement shall be entitled to its costs. including reasonable attorneys
     fees.

                23.         NOTICES



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                     tices and other commynic 'ions under this Agreement shall be in writing
                     given in writing person, by recognized overnight delivery service or by
      mail, and shall become effective (a) on delivery if given in person, (b) on the date of
                                              "
      delivery if sent by recognized overnight delivery service. or (c) four (4) business days
      after being deposited in the mail with proper postage for first class registered or
      certified mail, pre-paid.

                   Notices shall be addressed as follows:

                   If to Licensor:

                   IMPROV WEST ASSOCIATES
                   8162 Melrose Avenue
                   Los Angeles, California

                   With copies to:

                   Budd Friedman
                   875 Comstock Avenue, 115A
                   Westwood, California 90024.

                   Mark Lonow
                   2609 Laurel Pass Avenue
                   Los Angeles, California 90046

              If to Licensee, any Affiliate of Licensee or any Operator other than Licensee or
      an Affiliate of Licensee:

                   COMEDY CLUB, INC.
                   1405 Airline Drive
                   Metairie, Louisiana

     Any party may from time to time specify a different address for notices by notice to the
     other pany.

                   24.    RELTIONSHIP OF THE pARTIES

             a.      The parties hereto are independent contractors as to each other. No party
     is the legal representative or agent of, or has the power to obligate (or has the right to
     direct or supervise the daily affairs of) the other for any purpose whatsoever. The
     parties hereto expressly acknowledge that the relationship intended by them is a
     business relationship based entirely on, and de,fined by, the express provisions of this
     Agreement and the Asset Purchase Agreement and that no partnership, joint venture,



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     ReVised "619199


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                                                    f     , ~f          .

                               fidU~iary or employme ~i:tionShiP is intended or created by reason
                                                     I)




               b.      Licensee shall take such steps as are necessary and such steps as
       Licensor or Licensor may from 'time to time reasonably request to minimize the chance
      of a claim being made against Licensor for anything that occurs at any Club, or for
      acts, omissions or obligations of you or anyone associated or affiliated with any Club,
      and Licensee shall cause its Affiliates, and each Operator of a Club which is a Third
      Party to do the. same. Such steps may, for example, include giving notice in private
      rooms, public rooms and advertisements, on business forms and stationery, and any
      other materi.als, making clear to the public that Licensor is not the owner or operator of
      the Club and is not accountable for what happens at the Club. Unless required by law,
      Licensee shall not, and Licensee shall cause each Operator to acknowledge and agree
      that it shall not, use the words "lmprov", "the Improvisation" or any similar words in
      its corporate, partnership, or trade name, nor authorize or permit such use by anyone
      else. Licensee shall not, and Licensee shall cause each Operator to acknowledge and
      agree that it shall not, use the words "Improv", ..the Improvisation" or any similar
      words to incur any obligation or indebtedness on. behalf of Licensor.

                25.       CONDITIONS TOTHE OBLIGATIONS OF LICENSOR
                                                                                                    . --..;;.~,
                                                                                                    ~:f'!~'
              Licensor shall not be bound under this Agreement unless and until of the .'.'
      following conditions have been fulfilled no later than the date set forth under Section
      4.a. of the Asset Purchase Agreement for the Closing thereunder:

              a.     Compliance with the California Franchise Investment Act and regulations
      promulgated thereunder and compliance with all other applicable franchise and
      securities laws and regulations, to the satisfaction of counsel for Licensor.

              b.     Licensee, as "Buyer~ under the Asset Purchase Agreement' shall have
      performed and complied with all covenants, agreements and conditions reqUired in such
      Agreement to be performed or complied with by Licensee prior to or at the Closing,
      including but not limited to payment of the Purchase Price, and the Closing under the
      Asset Purchase Agreement shall have occurred;

              c.     The representations and warranties of Licensee set forth in this
      Agreement be true and correct in all material respects and not contain any material
      errors or misstatements; and

             d.     Licensor shall have been furnished with certificates of appropriate agents
      of each of the entities comprising Licensee, certifying to the best of the signer'S
      knowledge in such detail as Licensor may reasonably request to the fulfillment of the
      foregoing conditions.



      Trademark LicCrtsc Agreemenl
      Revis..l 6llJ/99
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                                                .           '.                          23
                                                       .I        .
                          TNESS' WHEREOF, the pies hereto have executed this Agreemen, as
                          st set forth above.

                                                    LICENSOR:

                                         IMPROV-WEST ASSOCIATES

                                          'By: IMPROV WEST, INC.

                                       By:         .
                                       Gersoh "Budd" Friedman, President




                                                    LICENSEE:




       trademark License ,\grecmc:nt
       Revised 6/9/99

                                               EXHIBIT ~ PAGE              f; ~.
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                                    S~hedule   3-I to
                                                         pI
                                                        T~    License Agreement

                (Rights of Third Parties to use the Trademarks in connection with Clubs)




      Trademark License Agrecmenl
      Rcviscd 6/9/99
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                                   Schedule 4-1 to Tra       License Agreement

                                             (Restrictive Agreements)

       1.       All agreeQ1ents listed on Schedule 37 1.

       2.       [BF divorce agreement]




       Tradcmark Liccnse Agrcl:mclII
       Revised 6/9/99
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                  f




                                     Schedule 5-1 :   Tl   License Agreement

            (CondItions and Requirements as to Manner,in which the Trademarks May Be Used)



       1.         All performances shall take place 'on a stage or elevated platform.

       2.     All performances shall take place using first class, professional sound equipment
       and lighting.

       3.      A sign saying "IMPROV" shall be placed on the wall behind the performers, in
       substantially similar to that now used at the Melrose Improv. The brick wall motif,
       similar to that now used at the Melrose Improv shall be used on the wall behind the
       performers.

       4.         There shall be no dance performances in the Club.

       5.         There shall be no topless performances in the Club.

       6.     The Trademarks shall not be used in any way in connection with a "gentleman's
       club" or "strip club".




       Trademark License Agrcc:mem
       Rcvisccl 6/9/99
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      ".
                                                                                                             P. :2




                            AMENDMENT TO TIUDEMAlK LICENSE AGllUMENT

                      TH1S AGREEMENT IS MADE TlilS            J..:Lday of ~k1C bCr..                , 1999
            by and betWeen Comedy Club, Int., LICENSBE, and huprov West Asso~a1g.

            UCENSOR.

                     WHEREAS, tho parties entetd into a TradCllnll'k Lioeoae Asr~t dated JW1C

            13, 1999 grmtina cert~ riahts rc:1atccllO the tradtmU'ks ImPfOV and Impro\liaation and

            trade dresl UIOcil1tcd ~th and now wish 10 expand and modifY the rishts contained

           in th.U agreement ... ill1ows:

            1. Comedy Club, Inc. willlifCC       '0 open 12 clubs in 3 >Un of which 4 will ~ opened
                 byO;tober 13, 2001 and 4 will IHl open«f by October J3, 2002 and tho bUiU1C(l by

                 Qetober 13. 2003. 'Eight (8) clubs may be either eompanyowncO. joint venture or
                 franchiso. Four (4) clubs must be either joint venture or company owned. All feas

                 and royalti= shall. be payable as _ forth in the June 13. 1999 aareeznent. This

                 modification to the dfNelnpment schedule shalt supercede and satisfy the

                 development obligations set t'onh in the:: June: 13. 1m LiCClnSC Agreement.

           2. UCENSOR wiD arantto LICENSEE the ex~lulive fichu and Itc«uo to WI<:. utilize,
                 and/or liccme tM trademarks, ~ dtcu and content.woeiated th.etewidl for tM

                 pul1'O" of use 011 the InU:t1'lat, iftc1udiDS broadband or other internet Nlated media,

                 IU1d radio as deaned appropriate by UCENSEE. Ownership in che mark. will t'Clnain


           --.   vetted in LICENSOR who qrccs not to enter into any othor \J.SIIC withow prior
                 A?ptOval from Comedy Club, tne. whose eoDsenl will nOl be ~n.b)y withhdd
                                                                                           .



                 provided any s~ usc by UCE'NSOR shell DOt impair tho ri,hts ofLICeNSE2. This

                 WiU supercede; md expand the lic.e:mc rightl stt forth in the June 13, J999 agre:emcmt.




                                            EXHIB!T. C, PAGE                 _~
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                                  FRQ.4                                                                      1'.3




           3. The proviliOJ'lI of ParagraphS ad4rcaaing only !olcvision seI forth in the June 13,

                t 999 qrecmcnl will .stay in effect however LICENSOR will &Sf" not to Qltcr into

               any television arrangement without prior consultation with Comedy Club. Inc. and

               adequate ti~c to discUSI the impUcatiotU of aD)' such ~f.

          4.   LICENSOR wiD forward a copy of the asreement with Larry O'Daily con~in8 the

               "Evening at the Jmpro"n library immediately.. LICENSOR will ~ wirh and
    ."'        \.ISC ilS   very bc:Il cffl>rb·end do wbAt8'IJet it QOCOlIItY to help LICENSEE ObuWi the

               rights Ul thaI library. lbereafUr, LICENSEE shall have the ~"cJU$jve usago oftbo

               library for the arcaseovered b)' thu and the June 13, Im        ~l             It lS

               eonternpl~         chlr a fee based on industry standards may have to be paid.

          5. In further       ~deration      hereof, Improv Welt win receive J5% interest or net profit in
               the new company fonned to eJq)JOlt tbcrisht. covered. by this Addendum to the

               U~JC Agr;o.cm~t            mdthc sum ofS150,OOO in cub upon final eJlecution oftbis

               agreement and the trlJ1sfer of the rights conlaiDcd herein.

          6. This asreecnllnt shall modity and supercede any ad all provIsions oflhe June 13,

               1999 License Ajrecrnent which         ~ inCOnsilt4lnl Of conflict with   tbb agreeme:ru. 10

               the event of uy c:ontlil;t or dispute, the terms of this IIreen1Cll shall prevail.

          7. These a.dditioDal rightS will rcmai~ in effect as lon,u Comedy Club, ln~ is nol in

               default oftho terms and provislons ofbath ~ asreement datedJuM 13. 1999 and

               this amendrnentdatcd ~bor 13,1999.

          8. Improy West wUl bilve tho rilhtto IUdil the company 10 verify its po,ilion.
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                                                                                                     P. :2




           9. Budd Fntdman and Improv West will provide their best efforu to resolve and assist

              Comedy Club, Inc. to obtain the debu to Improv.eom.

           10. lmprov Wesr Mil provide its belt c:ff02U to cl=r up any and aU issues telaled to iu
              ftanclUsc deal•.




          AOREeDTO AND ACClSPTSD THIS               I"i   dayof     ck3o br.f\-       .1999

          lMPROV WEST ASSOCIA'TCS                                 COMEDY CLUB, INC.




          LONOW &. COMPANY




                                     EXHiBiT         C-_ P/\GE JoD
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              ExhibitD
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                                         SETTLEMENT AGREEMENT

                This Settlement Agreement ("Agreement") is entered into by and among Comedy
        Club" Inc. ("Comedy") and Al Copeland Investments, Inc. ("ACI"), on the one hand, and
        Improv West Associates ("Improv") and California Comedy, Inc. ("ccr'), on the other hand
        (Comedy, ACI, Improv and CCI are sometimes hereinafter referred to collectively as the
        "Parties").

                                                   RECITALS

                A.       Comedy, ACI, Improv and CCI are parties to a TradeJIlMk License
        Agreement dated June 13, 1999, as subsequently amended by (i) an Amendment dated
        October 19~ 1999; (ii) a letter dated August 20,2001 from Califorilia Comedy, Inc. to
        Comedy Club, Inc, which the Parties regarded as a Second Amendment; (iii) a Third
        Amendment dated March 3, 2002; and (iv) a Fourth Amendment, dated March 3, 2002
        (collectively, the "License Agreement");                ,

               B.      On or about November 7,2003, Comedy and ACI filed a Complaint in the
        United States District Court for the Cen1ra1 District of California ("District Court''), Case
        No. CV 03-8134, seeking declaratory relief in relation to the License Agreement
        ("Complaint';);

                c. On or about March 19, 2004, Improvand Cel filed a Demand for Arbitration
        against Comedy and ACI with the American Arbi1ration Association, Case No. 72 181
        00274 04 ("Demand");               .

                 D.On or about JUly 28, 2004. the District Court ordered the Complaint to
        arbitration;

                E.     Thereafter, Comedy and ACI filed counter-claims to the Demand ("Counter-
        Demand") (the Demand, Counter-Demand, and the Parties' respective positions regarding
        the various disputes which existed in the arbitration shall be collectively referred to herein as
        the "Arbitration'');

                F.    On or ahout February 25, 2005~ the arbitrator issued a Partial Final
        Arbitration Award;

                G.     On or about April 12, 2005, the District Court issued an Order confirming the
        Partial Final Arbitration Award;

                H.      On or about May 4. 2005, the District Court entered a Judgment confmning
        the Partial Final Arbitration Award ("Partial Judgment");

                 I.        On or about May 20,2005, the arbitrator issued a Final Arbitration Award;

               J.     On or about August 25, 2005, the District Court entered a Judgment
        confinning the Final Arbitration Award (the "Final Judgment"); .



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               K.      Comedy and ACI appealed the Partial Judgment and Final Judgmentto the
        United States Court ofAppeals for the Ninth Circuit;
               . L.     On or about September 7, 2007, the Ninth Circuit issued an opinion affirming
        in part, vacating in part, and remanding to the DistrictCourt for further proceedings
        consistent with its opinion;

                M.     On or about January 23, 2008, the Ninth Circuit issued an amended opinion
        affinning in part, vacating in part, and remanding to the District Court of further
        proceedings;                   .

                N.     On or about October 8, 2008, the United States Supreme Court granted the
        Petition for Writ of Certiorari filed by Improv and CCI, and the case was remanded to the
        United States Court of Appeals for the Ninth Circuit for further review;

                O.      On or about January 29,2009, the United States Court of Appeals for the
        Ninth Circuit issued its Opinion that vacated in part, affirmed in part, and remanded to the
        District Court for further proceedings consistent with its opinion (the ''Decision");

                P.     hnprov and eCl filed a second Petition for Writ ofCertiorari with the United
        States Supreme Court that was denied on October 5, 2009 (the original appeal and all
        subsequent efforts by the parties in connection therewith, including each Petition for Writ of
        Certiorari and all related briefing; are collectively referred to as the uAppeal"); and

               Q.     Pursuant to the Decision, the District Court has been charged with
        detennining the amount of reasonable attorneys' fees and costs that should be awarded to
        Improv and CCI.

                                              AGREEMENT

               In consideration ofthe tenns and conditions set forth in this Agreement, the Parties
        agree as follows:

                1.      Stipulated Judgment Concurrently with the execution of this Agreement, the
        Parties shall execute the Stipulated Judgment delivered concurrently herewith and held in
        escrow by the Parties' respective attorneys. This Agreement, and the effectiveness ofthe
        Stipulated Judgment, are expressly conditioned upon Comedy timely and fully paying to
        Improv of the sum ofThree Hundred Seventy-Five Thousand Dollars ($375,000) as set forth
        in section 4 of this Agreement. If such payment is not paid in full on or before January 15,
        2010, this Agreement shall be void and ofno force and effect Promptly following such
        timely and full payment, the Parties shall cause their attomeys to file such Stipulated
        Judgment with the United States District·Court. If the Stipulated Judgment is filed in
        accordance with the tenns ofthis Agreement, then the Parties agree that no PartY shall file
        an appeal from or otherwise challenge or seek review ·ofthe Stipulated Judgment
               2.    Optional License and Melrose Improv License Extensions. If Comedy and
       ACI have previously exercised the option set forth in Section 3(a) of the Trademark License
       Agreement dated June ·13, 1999, as amended, and on condition that Comedy and ACI have
       fully perfonned all oftheir obligations under the License Agreement and are not in default,
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        then Comedy and ACI shall have the option, exercisable by written notice given to Improv
        and cel after June 1,2020 and before December 1,2028, to extend the License (as defined
        in the License Agreement) until May 31, 2039, which extension right shall also apply to tlie
        sublicense for the Tampa, Florida "Improv" club. If Comedy and ACI have previously
        exercised the option set forth in Section 3(b) ofthe Trademark License Agreement dated
        June 13, 1999, as amended, and on condition that Comedy and ACI have fully perfonned all
        oftheir obligations under the Li~nse Agreement and are not in default, then Comedy and
        ACI shall have the option, exercisable by written notice given to Improv and CCI after June
        1,2020 and before December 1,2028, to extend the Melrose Improv License (as defined in
        the License Agreement) until May 31, 2039. For purposes oftbis Section 2, any defaults
        which have occurred prior to the date ofthis A~ment shall be excluded, including but not
        limitedto any defaults of Comedy or ACI with respect to the obligations of Section 12(a) of
        the Trademark License Agreement dated June 13, 1999, as amended by Section 1 of the
        Amendment dated October 19, 1999. The Parties agree that Comedy and ACI shall not be
        obligated to open additional new "Improv" clubs pursuant to Section 12(a) ofthe Trademark
        License Agreement dated June 13, 1999, as amended by Section 1 ofthe Amendment dated
        October 19, 1999.

                3.     Internet. Unless and until otherwise agreed in writing or resolved by
        proceedings undertaken pUrsuant to the License Agreement, the Parties shall observe the
        status quo existing as December 21, 2009 with respect to the Internet domain name
        "Improv.com" and with respect to the use ofthe marks "Improv" and "Improvisation" on the
        Internet.

                4. Attorneys'Fees. On or before January 15, 2010. Comedy shall pay to Improv
        the sum ofThree Hundred Seventy-Five Thousand Dollars ($375,000) as payment in full for
        all costs, attorneys' fees and expenses incurred by Improv in connection with the Arbitration,
        Award, Judgment and subsequent Appeal. Such payment shall be made by check made
        payable to, or wire transfer sent to, Improv care of its legal counsel, Dennis Ardi. Esq.
        Except for such payment, each party shall bear its own attorneys' fees and costs incurred in
        connection with the Complaint, Arbitration, and Appeal, and in the negotiation and drafting
        ofthis Agreement.

               5.     No Oral Modification. This Agreement may not be amended or modified
        except by means of a written instrument signed by all Parties. No right of any party under
        this Agreement shaII be deemed waived unless that waiver is in the fonn of a written
        instrument signed by the party who has purportedly waived that right. .

                6.      Representation ofAuthority. Each individual party signator to this
        Agreement who is executing this Agreement on behalf of a business entity represents and
        warrants that he/she has the authority to execute this AgreeJIlent on behalf ofthat entity and
        to bind that entity to the terms of this Agreement.

                7.      Rules of Intemretation. The Parties acknowledge that they have been
        represented by legal counsel in preparing this Agreement. The Parties waive the application
        of any rule of contract interpretation that would require that issues of interpretation be
        construed agafus.t the drafter.                          .


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                8.     Governing Law. This Agreement shall be governed by and construe.<! in
        accordance with the laws of California, excluding any conflicts of laws principles ofthat
        state that would apply the laws of another state. Venue shall be in Los Angeles, California.

                9.      Entire Agreement. This Agreement contains the entire agreement between
        the Parties with respect to the subject matter ofthis Agreement, and supersedes in its
        entirety all other agreements between the Parties, whether oral or written, with respect to
        that subject matter. Each party represents that it has not relied on any promises or
        inducements that are not disclosed in or incorporated into this Agreement. Parol evidence
        shall be inadmissible to· show agreements among the Parties to any tenn contrary or in
        addition to those in this Agreement.              .

               10.     Counterparts. This Agreement may be signed in two or more counterparts,
        each of which will be deemed to be an original. Any signature by facsimile shall be deemed
        the equivalent of an original.



        Dated: 'JC. ""~CIr", lit ,2010               COMEDY CLUB, INC.
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                                                     B;:Z ",,", ~__
                                                     Its:   CF<J
                                                     Address: ftJO~ ~,,,. ....-        eel S A".J. L-.
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                                                                          Co .. (.,(   "?~Ol

        Dated:7""''''''"1 (. ,2010                   AL COPELAND INVESTMENTS, INC.

                                                     B~'..LU<c:
                                                     Its:   CJ=o
                                                     Address:'OO! ~rc_ ....             c! S$..e...,.tL..
                                                             ;'1"4,,...:.c.,; Lfi   7CA> 0 ,


        Dated: ._.                  -', 2010         IMPROV WEST ASSOCIATES
                                                     By:,                                          _

                                                     Its:         ----------
                                                     Address:,                                      _



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                  8.    Qpvcming Law. This Agreement sball be govemed bY' and construed in
         accordance with the laws ofCalifomia. excluding any conflicts onaws principles ortha1
         state that would apply the laws ofanotber state., Venue shall be in Lqs Angeles t California.·
                  9.      §.QJ.jre Agreement. This Agreement contains ~ entire agreement between
          the Parties with respect to the subject maller of this Agreement, and supersedes. in its
        . entirety all other agreements between the Parties, whether oral or written, with respect to
          that subject matter. Ea.ch party represents that it has not relied on any promises or
          inducements 'that are not disclosed in or incorporated into this Agreement. Parol evidence
          shall be inadmissible tosbow agreem~ts among the. Parties to any tenn contrary or in
          addition to those in this Agreement.

                 10.    9n!ntelparts. This Agreement may be signed in two or more cOWlterparts,
         each ofwhich will be deemed to be an original. Any signature by facsimile shall be deemed
         the equivalent of an original.


         Dated:                 , 2010                 COMEDY CLUB. INC.
                                                       By:                                   ~_




                                                       Its:                                         -

                                                       Address:                                     _




         Dated:               -', 2010                 AL COPELAND INVESTMENTS, INC.
                                                       By:                                       _

                                                      115:                                      _

                                                       Address:_ _--r.".....                        _




        Dated:      ,
                  _'+/-11,-.__,20JO




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Case 2:11-cv-07103-PSG-SH Document 27 Filed 03/29/12 Page 83 of 110 Page ID #:386




                   8.     Governing L·aw. Thi,s Agreement shall be governed by and construed in
           accordance with the laws ofCalifornia. excluding any conflicts oflaws principles of that
           state that would apply the laws ofanother state. Venue shall be in Los Angeles. California.
                   9.       Entire Agreement. This Agreement contains the entire agreement between
           the Parti~ with respect to the subject matter oftJUs Agreement, and supersedes in its
           entirety all other agreements between the pames. whether oral or written, with respect to
           that subject ItIIltter. Each party represents that it has not relied on any promises or
           inducements that are not disclosed in or incorporated into this Agreement. Parol evidence
           shall be inadmissible to show agreements among the Parties to any tenncontrary or in
           addition to those in this Agreement.
                 10.     Counterparts. This Agreement may be signed in two or more counterparts,
          each ofwhich will be deemed to be an original. Any signature by facsimile sball be deemed
          the equivalent ofan original.


          Oated,:                     ,.2010                COMEDY CLUB, INC.
                                                        By~                  ....-                  _

                                                        Its:                                        _

                                                        Address:                                _




          Dated;                   .-I',   2010         AL COPELAND INVESTMENTS, INC.
                                                        By:                                     _

                                                        Jts:                         -----..;.---
                                                        Address:                                _




          Dated:                 ---', 2010




                                                        Address:                                _



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        Dated:   --.!J 1   ,2010


                                                                               I.




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              Exhibit E
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                                     DENNIS ARDI
                                              Attorney el Lew
                                          Profeaslonel Cor'poratlon

                                   340 N CAMDEN DRIVE, THIRD FLOOR
                                    BEVERLY HILLS. CALIFORNIA 90210
                    Tel: (310) 271-6900 • l;-meU: DA@DennlaArdl.com • Fax: (310) 271-6963



                                              April 28, 2011

    BY EMAIL TO:kluer@ecjlaw.com

    Kenneth Luer, Esq.
    Ervin Cohen & Jessup LLP
    940 I Wilshire Boulevard, Ninth Floor
    Beverly Hills. Califomia90212-2974

    Dear Ken:

           As you probably know, Ron Wendel and Mark Lonow have been talking about
    cooperating on internet activities by giving IWA an interest in Improv.com and the business
    being done through it. IWA is hopeful that something can be worked out. This letter is an
    attempt to progress the discussion. It should not be taken as a waiver of any rights that IWA has.

            Ron and Mark have discussed various participations the IWA may be given in adjusted
    gross receipts and net profits. In order to have a meaningful further discussion, however, it is
    necessary. for the parties to defIne the parameters of the business and to define the terms
    "adjusted gross receipts" and "net profIts". Would. you kindly help your clients to supply IWA
    with the following infonnation:

           a.      What busine,ss is being conducted by, through or using. Improv.com?

           b.      What is the current cost ofrunning the site? Who is paid how much for what
    services?

           c.     %at are the sources ofrevenue? How much has each source of revenue
    generated, by month, over the last six months?

           d.      How much is earned from advertising on the site?

           e.     How much is earned from sales of merchandise on the site?

             f.     How much is earned'from ticket sales: (i) by the site; (ii) from the owners oftbe
    sites to which ticket purchasers are re-directed; (iii) by LaughStub?

           g.     Who gets the $3..50 per ticket fee that is charged for online sales?




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    DENN}S ARDI Attornay at Law PrcH...lonal CorpQratlon                                              2



            h.      Please supply copies of the contracts with every business that supplies an ad or a .
    service or that sells products through Improv~com or that can be accessed by a hyperlink on
    Improv.com

            Regarding actiVities conducted on the site, it bas just come to IWA attention that many of
    these are unauthorized by any agreement between Copeland or Levity and IWA, and that many
    oftbe activities constitute infringements upon IWA's trademarks, including:

             1.      Listing Gotham Comedy Club on the "Improv" site. It is not an Improv Club, yet
    it is being treated as if it is and being given the same benefits as licensed Improv Clubs enjoy.
    When you click on the "New York, Gotham" on the drop down menu from the word ''Clubs'',
    you get a box that says "Upcoming Shows at the New York Improv". When you click on that,
    you get all the same infonnation as for any of the Improv Clubs, and the opportunity to buy
    tickets. All thiSltlustbe removed from the site immediately. We would also want to know how
    much Gotham Comedy Clu~ paid for being included on the site. No comedy club other than and
    ImprovClub should be accessible through Improv.com.

           2.      Allowing comedy clubs and comedy businesses to benefit from the use of and
    association with the "Improv" brand without paying a license fee to do so, including:

                     A.       Video of comics performing at comedy clubs that are not Improv Clubs,
    such as (this list is not intended to be exhaustive) Jay Washington performing at Riddles Comedy
    Club, Beau Elliot at Sherlock's in Houston, Dan Currie at Connxtions Comedy Club, Raj Shama
    at The Ice House, and Brad Goodwin at Comedy Zone;

                  B.    Using the site to display and promote productions of Ecomic Branding,
    including "Dear Comic" and "Tweet the Joke";

                   C.     U~ of the "Improv" trademark on "The Comedy Sideshow" title card and
    use of the "Improv" trademark in the program (which was not done in compliance with the
    Copeland Trademark License Agreement ifthe program was done at a Copeland owned Club);

           3.      Including "Ads by Google";

           4.      Selling products, such as Mike Birbiglia CDs and digital downloads from
    .Comedy Central;

           S.       Selling "Improv" t-shirts and sweatshirts and other merchandise (Le., all licenses
    that do allow the sale ofsuch items allow sales only at licensed Improv Clubs); and

         6.    Using the "Improv" name for a contest (e.g. promoting a Doug Stanhope
    COIDVD package through a contest entered by mailing "ImprovContestS@gmail.com").

           We would like to make a mutually satisfactory agreement for IWA's participation in the
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        DENNIS ARDI Attorney at Law Profellional Corporation                                           3·
   ..


        adjusted gross receipts and net profits ofthe Improv.com site and the ticket sales made directly
        or indirectly through the site. IWA will make every reasonable effort to do so: The immediately
        preceding list ofproblematic items, .however, will have to be addressed and resolved as well.
        Please have your clients promptly supply the information requested above so that they and IWA
        can proceed to work out a mutually acceptable agreement and resolve the issues herein
        identified.




        cc:    Budd Friedman, Mark Lonow




                                       EXHIBIT        tS PAGE to
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              Exhibit F
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      ERVIN COHEN &JESSUPLLP                                                 9-40 I Wilshire BoultlYlrd, 9dl Floor
                                                                             Beverly Hills, CA 902Ii-2'J74
                                                                             kscott@~llaw;com
                                                                             PH: 310.211.6348
                                                                             FX: 310.887.6848
                                                                             file 11466-2


       May 10,2011



       VIA FACSiMILE (310)271-6963
       AND FIRST CLASS MAIL

       Dennis Ardl, Attorney at Law
       A Professional Corporation
       340 North Camden Drive, Third Floor
       Beverly Hills, CA 90210

       Re:       Improv West Associates and california Comedy, Inc. v. Comedy Club, Ine.and AI
                 Copeland Investments, Inc.

       Dear Mr. Ardl:

      I am In receipt of your letter dated April 28, 20ll} addressed to my business partner, Ken luer,
      and I write in response thereto. As you alluded to in your letter, It is my understanding that our
      respective clients have been in discussions regarding sums derived from the continued
      operation ofthe "Improv.com" website (the "Website") which, as you know, related to the
      possible creation of a Comedy Club, Inc. subsidiary. As Is set forth below, however, your letter
      has used this occasion to assert rights and demand Information without factual or legal basis In
      a manner which offends the spirit and Intent of the discussion at hand.

      As you will recall, previous discussions regarding the Website came to a head on June 30, 2008.
      At that time, Improv West Associates (ttlwA"'l threatened to commence an action to prevent
      Comedy Club, Inc./AI Copeland Investments, Inc.'s (collectively, "CCIU ) so-called "unauthorized"
      use of the Website. Your correspondence to my clients at that time even went so far as to
      decfare that an award In IWA's favor will "be essentlallypro forma." While much has happened
      over the last three Years, our analysis concerning CCI's continued lawfUl operation of the
      Website has not changed from the position that I communicated directly to you on August 14,
      2008. eCI's operation and use ofthe Website is In compliance with the terms of the June 13;
      1999 Trademark license Agreement ("Trademark license Agreement"), the October 19, 1999
      Amendment thereto ("Amendment"), and, more recentlv, the January 6, 2010 Settlement
      Agreement ("Settlement Agreement"). Accordingly, for each of the reasons set forth herein,
      eCI will not cease operating the Website with Its current content, nor Is It required to supply
      the detailed Information sought In your April 28 letter.



      'OOC:S:U466.2:111D991.3




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                                                                             ER-VIN COHEN & JESSUPLLP
   Dennis Ardl, Attorney at Law
   May 10, 2011
   Page 2


       As you are, aware, the Trademark LlcenseAgreement creates a broad grant of rights in the
       marks "Improv" and "Improvisatlon" to eCI. To wit, the Recitals to the Trademark License
       Agreement provide as follows~

                WHEREAS, [IWA] wishes to grant to [eel] and [eel] wishes to acquire an exclusive license
                to use the trademarks "IMPROV" and "IMPROVISATION" (the 'Trademarks') in
                connection with the business that [eel] plans to operate at the premises now used by
                the Melrose Improv; and ••• in con"nection with other restaurant/bar/nightclub facilities
                that [IWA] may own or open at other locations and the right to grant to third parties a
                sub-license to use the Trademarks In connection with other restaurant/bar/nightclub
                facilities that such third parties may own or open at other. locations.

      The language of the Trademark license Agreement is unmistakably broad enough to confer to
      cel the rlght to use the Improv marks In any manner, provided, of course, that the use thereof
      Itl s In connection with" the operation of the underlying restaurant/bar/nightclub business. The
      grant would therefore Include the use of a webslt~ for ticket sales, promotional purposes and
      any and all merchandise that Is related thereto, as Is common In the restaurant and
      entertainment Industries. The conduct of which you complain in your April 28 letter Is
      therefore part and parcel ofCel's continued operation of the underlying business and
      effectuates the very purpose of the broad grant of the use of the Impl'ov mark. IWA therefore
      has no basis under which to prevent any ofthe complained of activities.

      Equally fatal to IWA's'posltlon Is the language of the Amendment and the parties' conduct
      relating thereto. Paragraph 2 of the Amendment grants eCI "the exclusive rights and license to
      use, utilize, andlor license the trademarks, trade dress and content associated therewith for
      the purpose of use on th~ Intemet...ils deemed appropriate by [CCI]," CClls thus empOwered
      to use the Improv marks on the Internet as It deems appropriate and without any control of
      IWA, which Is precisely what It has done for years.

      Moreover, Paragraph 9 of the Amendment provides, "Budd Friedman andlmprov West will
      provide their best efforts to resolve and assist Comedy Club, Inc. to obtain the rights to
      Improv.com." Through this provision, IWA effectively relinquished complete control and
      ownership ofthe Website for at least the duration of the Trademark License Agreement. In
      fact, IWA has never provided any content for the Website nor has It exercised any Influence or
      control over the contents ofthe Website. cells entitled to operate the Website In any manner
      that It deems fit as long as the use of the Improv marks on the Website Is "in connection with"
      the operation of the underlying business. Thus; whether CCI elects to use the Website to
      Include "Ads by Google," sell DVDs, promOte CDs or prOVide Iinksto other sites, Is within eCI's
      prerogative under both the Trademark License Agreement and the Amendment thereto.


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                                                                            ERVIN COHEN & JESSUPLLP
   Dennis Ardi, Attorney at Law
   May 10, 2011
   Page 3


        IWA's stated po.sitlon Is also directly contradicted by Paragraph 3 of the Settlement Agreement.
       The parties' January, 2010 Settlement Agreement addressed all outstanding disputes between .
       the parties, Including the threatened aalon regardIng the Website raised In your June 3D, 2008
       correspondence. To this end, Paragraph 3 of the Settlement Agreement provides, "[u]nless and
        until otherwise agreed In writing or resolved by proceedings undertaken pursuant to the
       Ucense Agreement, the Parties shall observe the status quo existing as December 21, 2009 with
       respect to the Intemet domain name "Improv.com" and with respect to the use of the marks
       'Improv' and 'Improvisation' on the Internet."

      Thus, pursuant to the Settlement Agreement, the types of content (i.e., comic blog pages and
      video performances) that existed on the Website or before December 21, 2009 are part of the
      "status quo" and are properly displayed on the Website. With this In mind, we have conducted
      a full and complete Investigation Into the manner In which the Website was maintained and the
      types of content that existed pre-December 21, 2009, as compared to the types of content as It
      exists today, and no substantive changes to the "status quo" have been made. In fact, while
      information such as headliners and performance dates has obviously been updated, the
      Website Is operated In much the same fashion as It has since prior to December 2009. This
      Includes, but Is not limited to, the posting of advertisements and performance videos, the sale
      of merchandise, and the listing of the New York Gotham Comedy Club as a venue. In light of
      such, we view IWA's current complaints regarding the Website's operation as a contrived
      attempt to gain leverage In the parties' current discussions.

      All ofthe foregoing Is made with reservation of all of eel's rights with respect to eqUitable and
      procedural defenses, including that IWA's purported claims are barred by the relevant statute
      of limitations and are subject to the defenses of laches, waiver, and unclean hands. Some of
      these defenses were described to you In my August 14, 2008 correspondence. Suffice it to say
      that, from the time ofthe default of the Trademark Ucense Agreement In October, 2002,
      substantial sums of money have been spent on designing, operating and monitoring the
      Website without any assistance from IWA. Further, since that time, eel has openly .operated
      the Website without IWA's control over the Website or its content. Moreover, IWA continued
      to directly profit from Cel's Website throughout this time period. Accordingly, we believe that
      the parties' course of conduct over more thane1ght preceding years and, Indeed, since 1999,
      ~III serve to prevent any steps IWA may take to assert control over the Website at this time.




      lDOCS:U466.2:1210991.3
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                                                                            ERVIN COHEN & JESSUPLLP
   Dennis Ardi, Attorney at Law
   May 10,2011
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       In sum, CCI has no wish to continue discussions under demands and assertions of rights that do
       not accurately reflect the reality of the slt.uatlon. Accordingly, we will consider the matter of
       the Website closed. Of course, our respective clients remain free to discuss business matters as
       they deem necessary.



                                  y.'

       Kelly o. Scott /"
       ERVIN COHE~JES.SUP.LlP ~

       KOS:UK
       cc:   Kenneth A. luer, Esq.
             Ronald Wendel




       IDOCS:U46CU:U109913
Case 2:11-cv-07103-PSG-SH Document 27 Filed 03/29/12 Page 94 of 110 Page ID #:397




           /"Exb'lblt"
                '.' • "'G"" .
       Case 2:11-cv-07103-PSG-SH Document 27 Filed 03/29/12 Page 95 of 110 Page ID #:398




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Case 2:11-cv-07103-PSG-SH Document 27 Filed 03/29/12 Page 97 of 110 Page ID #:400




      ERVIN COHEN. &. JESSUPLLP                                                              'Ill
                                                                        9401WIlshIre Boulevard. Roor
                                                                        Beverly Hills. CA 90212.2974
                                                                        kscou@ecjlaw.com
                                                                        PH: 31G.281.63'18
                                                                        Rle No. 11466-2




       August 24, 2011



       VIA FACSIMILE (310)271-6963
       AND FIRST CLASS MAIL

       Dennis Ardi. Attorney at Law
       A Professional Corporation
       340 North Camden Drive. Third Floor
       Beverly Hills. CA 90210


                Re:      Improv West Associates August 22, 2011 Demand        to Gotham
                         Comedy Club

       Dear Mr. Ardi:
      As you are aware, this firm represents Comedy Club, Inc. I AI Copeland Investments,
      Inc. (collectively "CCli. I have been forwarded a copy of your most recent
      correspondence dated August 22, 2011, and addressed to Christopher MazzilU of
      Gotham Comedy Club. and I write in response thereto. Much like your leUer
      correspondence dated April 28, 2011, addressed to my partner, Ken Luer, Esq., your
      August 22, 2011 correspondence ignores the terms of our respective. clients' June 13,
      1999 Trademark License Agreement.("Trademafk License Agreemenf), the October
      19, 1999 Amendment thereto ("Trademark Amendmenf'), and, most recently. the
      parties' January 6.2010 Settlement Agreement ("Settlement Agreement"), and purports
      to dictate to a third party what content can and cannot be displayed on the Improv.com
      website (the 'Website"). As I previously expressed to you in my May 5,2011, response
      to your April 28 letter, and as reiterated herein. CCI has at all times operated the
      Website In accordance with the parties' respective contractual agreements. and Improv
      West Associates' ("IWA") demand to remove content from the Webslte-whether made
      to CCI or to Gotham Comedy Club-ishereby rejected.
      There is little question that the Trademark Ucense Agre~ment creates a broad grant of
      rights In the t.rademarks "Improv" and "lmprovlsatlon N to ecl. To Wit, the Recitals to the
      Trademark License Agreement provide as follows:




      1183.2:1262634.1




                                        EXHIBIT 1:LPJ\GE            ~ ~.
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                                                                       ERVIN COHEN &JESSUP LLP
   Dennis Ardi, Attorney at Law
   August 24, 201 t
   Page 2


               WHEREAS, [IWA] wishes to grant to [CCI] and [CCI] wishes to acquire an
               exclusive license to use the trademarks "IMPROV" and
               -IMPROVISATION" (the 'Trademarks') in connection with the business
               that {CCI] plans to operate at the premises now used by the Melrose
               Improv; and • , • in connection wIth other restaurantlbar/rUghtclub
               facilities that [IWA] may own or open at other locations and the right to
               grant to third parties a sub-license to use the Trademarks In connection
               with other reslaurantlbar/nightclub facilities that such third parties may
               own or open at other locations ....(Emphasis added)
      The language of the Trademark LIcense Agreement Is unmistakably broad enough to
      confer to CCI the right to use the trademark "Improv· or "Improvisation" In any manner,
      provided. of course. that the use thereof ais in connection with- the operation of the
      underlying business. The grant would therefore Include the use of a website for ticket
      sales, promotional purposes and any and all merchandise that is related thereto, as is
      common in the restaurant and entertainment Industries. ,The conduct of which,you
      previously complained in your April 28 letter, and which you again raise In your August
      22 letter to Gotham Comedy Club. is in connection with CCl's continued operation of the
      business, Including the broad grant of the use of the "Improv" trademark.
      IWA's demand that any reference to Gotham Comedy Club be removed from the
      Website is equally unavailing in light of the language of the Trademark Amendment and
      the parties' conduct relatIng thereto. CCI's "exclusive license" to use the trademarks
      as set forth in the Trademark License Agreement was further' confirmed and expanded
      upon In the Trademark license Amendment The Trademark License Amendment
      provides, in pertinent part:
               liCENSOR will grant to LICENSEE the exclusive rights and license to
               use, utilize, and/or license the trademarks; trade dress and content
               associated therewith for the purpose of the use on the Internet,
             . including broadband or other internet related media, and radio as deemed
               appropriate by LICENSEE. Ownership in the marks will remain vested in
               LICENSOR who agrees not to enter Into any other usage without
               prior approval from Comedy Club, Inc. Whose consent will not be
               unreasonably withheld provided any such use by LICENSOR shall not
               impair the rights of LICENSEE .. ," Budd Freedman and Improv West will
               provide their best efforts to .resolve and assist Comedy Club, Inc. to
               obtain ttle rights to Improv.com." (emphasis added)
      Through these provisions, CCI effectively relInquished complete control and ownership
      of the Website for the duration of the Trademark Ucense Agreement In fact, IWA has
      never provided any content for the Website nor has it exercise any influence or control

      11466.2:1281778.2
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                                                                                ERVIN COHEN &JESSUPLLP
   Dennis Ardl, Attorney at Law
   August 24, 2011
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      over the contents of the Website.CCI is entitled to operate the Website In any manner
      that it deems fit. again assuming that any activity on the Website Is "in connection with"
      the operation of the underlying business. which it is. Thus, CCl's election to grant
      permission to Gotham Comedy Club to sell tickets on the website is within CCl's
      prerogative under both the Trademark Ucense Agreement and the Trademark
      JUnendn1entthereto.
       Similarly, IWA's stated position that Gotham Comedy Club is somehow infringing upon
       IWA's trademark is also directly belled·by Paragraph 3 of the Settlement Agreement.
     . The parties' January, 2010 Settlement Agreement addressed all outstanding disputes
       between the parties. Including the threatened action regarding the Website that was
       raised by you prior to that time. To this end, Paragraph 3 of the Settlement Agreement
       provides, "[u]nless and until otherwise agreed In writing or resolved by proceedings
       undertaken pursuant to the License Agreement, the Parties shall observe the status
       quo exIsting as December 21, 2009 with respect to the Internet domain name
       "Improv.com" and with respect to the use of the mark~ 'Improv' and 'ImproVisation' on
       the Internet." (Emphasis added).
      Thus, pursuant to the Settlement Agreement, both specific content(/.e., verbatim
      language) as well as any specified types of content (/.e., links for ticket sates and
      reference to Gotham Comedy Club) that existed on the Website or before December
      21, 2009 are part: of the ·status quo· and are properly displayed on the Website. As we
      outlined in response to your April 22 letter, we have investigated the manner in which
      the Website was maintaIned and the content that existed pre--December 21-,2009; as
      compared to the content as it exists today. Rest assured that no substantive Changes
      to the "status quo" have been made. In fact, while the content Is obviously updated, the
      Website has operated in much the same fashion as It has since its inception. In light of
      such, we view IWA's current complaints regarding the Website's operation and the
      demands made of Cel, and most recently of Gotham Comedy Club, as factually and
      legally baseless.
      Put simply, IWA's most recent attempts to hijack the Website are as unavailing now as
      they were when prior demands were made back In August. 2003, June, 2008 and May,
      2011. We find It troubling that much of your correspondence on these subjects arrives
      at times when our respective clients are discussing business solutions to the various
      Issues, effectively chilling such discussions and fostering an atmosphere of distrust.
      Nevertheless, CCI will continue to operate the Website In accordance with the parties'




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                                                                     ERVIN COHEN & JESSUPLLP

    Dennis Ardi, Attorney at law
    August24,2011
    Page 4


       contractual obligations, which Includes reference on the Website to, and ticket sales·
       from, Gotham Comedy Club. In the future. should you have any questions or concerns
       about CCI's course of conduct related to the Website, please send them to me directly.
       Very truly yours,




       KOS:UK
       co:      Kenneth A. Luer, Esq.
                Lauren J. Katunfch, Esq.




       11460.2:1282534.1

                                           EXHIBIT \:\ PAGE       1·~
Case 2:11-cv-07103-PSG-SH Document 27 Filed 03/29/12 Page 101 of 110 Page ID #:404




                                                       ERVIN COHEN &JESSUPLlP
    D   · Ardi,. Attorney at Law
      enms
    A.ugust 24,2011
    Page 5


        bee:    Bryan White
                Ronald Wendel




       11468.2:1262534.1
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      ERVIN COHEN & JESSUP LLP                                          9401 WIlshire Boulmrd, 9'" Floor
                                                                        Beverly Hills, CA 90212·2'74
                                                                        kscott@ecllawocom
                                                                        PH: 310.281.6348
                                                                        FIle ,",,0; 11466-2




      August 24, 2011




      VIA FACSIMILE. (310)271-6963
      AND FIRST CLASS MAIL

      Dennis Ardi, Attorney at Law
      A Professional Corporation
      340 North Camden Drive, Third Floor
      Beverly Hills, CA 90210


                Re:       Comedy Club, Inc. and AI Copeland Investments, Inc. v.lmproY West
                          Associates


      Dear Dennis:
      As you know. this firm represents Comedy Club. Inc. I AI Copeland Investments, Inc.
      (collectively "CCI"). I am writing to you in connection with a letter dated August 5, 2011.
      addressed generically to certain unspecified "Improv Club Owners~ from PixoFactor
      Entertainment (IIPixoFactor"). The August 5 letter Indicates that Plxofactor has
      "partnered with Budd and Mark and Improv to build and expand the Improv brand .
      across all digital platforms". The letter goes on to describe, in very general terms, plans
      for the Mure of the Improv on the Intemet. In addition, through a press release dated
      August 3, 2011, PixoFactor announced to the world that it has partnered with Budd
      Friedman and Mark Lonow build a new Improv website and engage in various Internet
      activities using In the Improv name. It is clear that PlxoFactor Is under the mistaken
      impression that Budd Friedman and Mark Lonow are authorized to engage or othelWise
      "partner" with PlxoFactor to "build and expand the Improv brand across all the digital
      platfonns." Unfortunately, to the extent that such authorization has been communicated
      to PlxoFactor, whether by Improv West Associates (1IIWA") or its principals, PixoFactor
      has been woefully misled.
      The announcements from PlxoFactor are merely the most recent efforts made on behalf
      of IWA to gain control of the Impr9v brand on the Internet, and In partiCUlar, the     .
      "Improv.com" website (the 'Website"). As you will recall, the issue of CCl's continued
      operation of the Website first was raised by you by email dated June 30, 2008. At that


      11466.2:1262537.1
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                                                                         ERVIN COHEN &JESSUPw

    Dennis ArcU, Attomey at Law
    August 24, 2011
    Page 2


       time, IWAthreatened to commence an action to prevent CCl's so-called Munauthorized"
       use of the Website. Your email contained a bold proclamation that,unless CCI
       discontinued use of the Website, IWA would commence legal action and an award in
       IWAis favor would "be essentially pro forma~a My responsive letter to you, dated August
       14, 2008, made It clear that rwA's claims were baseless.
       Nearly three years tater, on April 28, 2011, IWA again made an effort to wrongfully gain
       control of the Website with the accusation that CCI's continued operation of the Website
       was In violation of the parties' Trademark license Agreement and the Trademark
       License Amendment thereto. I responded to these unfounded allegations in my letter to
       you dated MayS, 2011-which was similar to the response I provided you on August
       14,2008 in reply to your June 30, 2008 email-wherein I explained that CCI would not
       cease operating the Website with its current content, nor would it supply the detailed
       information you sought in your April 28, 2011 demand letter.
       Fast forward approximately three months to early August, 2011. Clearly realizing that
       IWA has no lawful basis under which to claim control of the Website, IWA, bY and
       through Budd Friedman and Mark '-onew, now seeks to circumvent the parties'
       Trademark Ucense Agreement and Trademark license Amendment altogether by
       creating new Intemet content for the Improv In a partnership with PixoFactor. This will
       not stand.
       As you are aware, the Trademark License Agreement creates a broad grant of rights In
       the trademarks "Improv· and "ImprOVisation" to eci. To wit, the Recitals to the
       Trademark License Agreement prOVide as follows:
               WHEREAS, [IWA] wishes to grant to [CCI] and [CCI] wishes to acquire an
               ex~lusive IIc~,"se to use the trademarks "IMPROV" and,
               "IMPROVISATION" (the 'Trademarks') In connection with the business
               that [CCI] plans to operate at the premises now used by the Melrose
               Improv; and •.. In connection with other restaurantlbar/nlghtclub facilities
               that [IWAl may own or open at other locations and the right to grant to
               third parties a SUb-license to use the Trademarks In connection with other
               restaurantlbar/nightclub facilities that such third parties may own or open
               at other locations ....(Emphasis added)
      .The language of the Trademark Ucense Agreement is thus unmistakably broad and
       confers to CCI"an exclusive -license" to use the trademark Mlmprov" or "Improvisation"
       in any manner, provided, of course, that the use thereof Dis In connection with- the
       operation of the underlying business.




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   Dennis Ardl, Attorney at Law
   August 24, 2011
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      CCl's "exclusive license" to use the trademarks as set forth in the Trademark license
      Agreementwas further confirmed and expanded upon In the Trademark Ucense
      Amendment. The Trademark License Amendment provides, in pertinent part:
               LICENSOR will grant to LICENSEE the exclusive rights and license to
               use, utilize, and/or license the trademarks, trade dress and content
               associated thereWith for the purpose of the use on the Internet,
               Including broadband or other Internet rel.aled media, and radio as deemed
               appropriate by LICENSEE. Ownership In the marks will remain vesled in
               LICENSOR who 'agrees not menter Into any other usage without
               prior approval from Comedy Club, Inc. whose consent will not be
               unreasonably withheld provided any such use by LICENSOR shall not
               Impair the rights of LICENSEE ....(Emphasis added)
       The terms of the Trademark License Amendment remain In full force and effect today.
       This is particularly true since the parties' January, 2010 Settlement Agreement
       ("Settlement Agreement"), which addressed all outstanding disputes between ,the
       parties, Including the threatened action regarding the Website raised in your June, 2008 '
      .correspondence, and provides, "[u)nless and until otherwise agreed In writing or
       resolved by proceeding's undertaken pursuant to the License Agreement, the Parties
       shall· observe the statuaquo existing as December 21,2009 with respect to the
       Internet domain name ulrnprov.com" and with respect to the use of the marks 'Improv'
       and 'Improvisation' on the Internet." (Emphasls added).
      Needless to say, !WA's planned use of the "Improv" trademark on the Intemet.to create
      a competing website with rival content Is not observing the status quo as it existed in
      December of 2009 and Is In clear violation of the Trademark License Agreement and
      the Trademark License Amendment. Nor does eCI consent to the use of the "Improv"
      name on the Internet in this manner. At the risk of stating the obvious, CCI does not
      and cannot,consent to the creation of an all-encoropaslng Improv website or of any
      Internet content that would detract from, or compete with, the Website or otherwise
      potentially cause confusion in the marketplace as to the onry source, of Information
      conceming the Improv which is authorized to use the "lmprov· name.
      CCI therefore demands that IWA cease and desist In the development of Internet
      content and the creation of a website that utilizes the "Improv· or "ImprOVisation"
      trademarks in any respect. IWA's failure to comply will necessarily result In the
      commencement ()f litigation, wherein CCI will seek all available remedies, Including
      damages, Injunctive relief, attorneys' fees and costsJ all of which rights and remedies
      are hereby specifically reserved.



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    Dennis Ardl, Attorney at law
    August 24, 2011
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        I trust that IWAwill govern Itself accordingly.



       Very truly yours,




       KOS:LJK

       cc:       Kenneth A. Luer, Esq.
                 Lauren J. Katunich, Esq.




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   Dennis Ardl. Attorney at Law
   August 24. 2011
   Page 5


       bee:    Bryan White
               Ronald Wende!




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      ERVIN COHEN &. JESSUP LLP                                                  940 I WIlshire Blvd., "" Floor
                                                                                 Beverty Hills, CA 90212':2974
                                                                                 kKott@ecj'-w.com
                                                                                 PH: 310.281.6348
                                                                                 FX: 310.887.6848
                                                                                 File 11466.2


      August 24, 2011



      VIA FEDERAL EXPRESS

      Sean Hurwitz
      Chief Executive Officer
      PlxoFactor Entertainment
      209 West 6th
      Royal Oak, MI 48067

      Re:       Partnership with Improv West Assadates for Planned exploitation of "Improv"
                Trademark on the Internet

      Dear Mr. Hurwitz:

      This firm represents Comedy Club, Inc./ AI Copeland Investments, Inc. (collectlvely"CCI"), and I
      write In response to your letter dated August 5, 2011 addressed generically to certain
      unspecified "Imprav Club Owners." As you know, your August 5 letter enthusiastically
      describesIn very general terms various plans for the future of the Improv on the Internet.
      These plans are repeated to some degree by apress release dated August 3, 2011. Both the
      letter and press release make clear that PlxoFactor Entertainment ("PlxoFacto~) has partnered
      wlth Budd Freidman and Mark 1.0now "b,ulld and expand the Improv brand across all the digital
      platforms." PlxoFactor Is obviously under the Impression that Improv West Associates ("IWA"),
      and more specifically, Its principals, Budd Friedman and Mark Lonow, are authorized to engage
      or otherwise "partner" with PlxoFactor In the representation of the Improv brand on the
      Internet. Unfortunately, to the extent that such authorization has been communicated to you,
      whetherby IWA, Its principals, or by anyone else for that matter, PlxoFaetor has been woefully
      misled.

       So that you are aware, on JU,ne 13, 1999, CCI, on the one hand, and IWA, on the other, entered
       Into aTrademark license Agreement (''Trademark license Agreement"). The Trademark
       License Agreement Is unmistakably broad and ,confers to CCi the exduslve license and right to
       use the trademarks "Improv" or "Improvisation" In any manner that Is "In connection with" the
      .operation of CCl's underlying business. Shortly after the parties entered Into the Trademark '
       License Agreement, an amendment thereto was entered Into effective as of October 19, 1999
       (''Trademark License Amendment"). The Trademark License Amendment further confirms and
       expands upon the broad,grant of rights In the In the Trademark License Agreement and
       provides, In pertinent part:
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          Sean Hurwitz
        , August 24, 2011
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                    '[IWAJ will grant to [CCIJ the exclusIve rights and license to use, utilize, and/or
                     license the trademarks, trade dress and content associated therewith for the
                     purpose of the use on the Internet, Including broadband or other Internet
                     related media, and radloss deemed appropriate by [CaJ. Ownership in the
                     marks will remain vested In [IWA] who agrees not to enter into any other usage
                     without prIor approval from Comedy Club, Inc. whose consent will not be
                     unreasonably withheld proVided any such use by [IWA]shall not Impair the rights
                     of [CCIJ....(Emphasis added)

             Needless to say, It Is CCI, not IWA, that currently maintains the exclusive right to control the
             exploitation of the "Improv" and "Improvlsatlon" trademarks on the Internet. Based on the,
             statements contained within your August 5 letter and August 3 press release, It appears that
             the newly formed partnership between Budd Friedman and Mark Lonow (presumably on behalf
             of IWA) and PixoFactor, and more speclflcally, PlxoFaetor's planned creation of an IW(mprov
             Network,II Is In direct competition with CCI's current and anticipated futu re Use of the
             Improv.com website; GIVen the circumstances of the planned use, we cannot grant IWA and/or
             PlxoFact,or permission to use the "Improv" trademark In such a fashion.

             To the extent that CCI has somehow misunderstood your Intentions for the future of the
             Improv on the Internet, please do not hesitate to contact me to discuss the matter further.
             Otherwise, you, may wish to confer directly with IWA about the future of your planned
             endeavors. Regardless, please be advised that now that PlxoFaetor has been put on notice of
             CCI's rights (a/l ofwhich rights and remedies are hereby specifically reserved), any participation
             by PixoFactor In IWA's planned violation ofthose rights will necessarily Implicate PixoFactor
             should litigation ultimately ensue.

             Very truly yours,




             KOS:UK

             cc:    OennlsArdl, Esq.
                    Kenneth A. Luer, Esq.
                    Lauren J. Katunlch, Esq.




                                                     EXHIBIT      1L PAGE ~ r
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                   Sean Hurwitz
                   August 24, 2011
                   PageS


                       bee:     Bryan White
                                Ronald Wendel




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    1                                     PROOF OF SERVICE
    2                      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    3        I am employed in the County of Los Angeles; I am over the age of eighteen years
      and not a party to the within entitled action; my business address is 1901 Avenue of the
    4 Stars, Suite 1600, Los Angeles, California 90067-6017.
    5           On January 19, 2012, I served the following document(s) described as
    6            [Proposed] INTERVENOR COMEDY CLUB, INC,'S:
    7           (1) ANSWER TO COMPLAINT; AND
    8           (2) COUNTERCLAIM FOR DECLARATORY JUDGMENT.
    9 on the interested par!Y(ies) in this action by placing true copies thereof enclosed in
      sealed envelopes and70r packages addressed as foHows:
   10
      KENDALL BRILL & KLIEGER LLP                   Attorneys for Plaintiff
   11 Robert N. Klieger, Esq.                       IMPROV WEST ASSOCIATES
        rklieger~kbkfirm.com
   12 Randall L. Jackson, Esq.
      rj ackson@kbkfirm.com
   13 10100 Santa Monica Boulevard
      Suite 1725
   14 Los Angeles, CA 90067
      Telephone: 310-556-2700
   15 FaCSImile: 310-556-2705
      DENNIS ARDI ATTORNEY AT LAW                     Attorneys for Plaintiff
   16    PROFESSIONAL CORPORATION                     IMPROV WEST ASSOCIATES
      Dennis Ardi, Esq.
   17 340 N. Camden Drive
      Third Floor
   18 Beverly Hills, CA 90210
      Telephone: 310-271-6900
   19 FaCSImile: 310-271-6963
   20 BY MAIL: I am "'readily familiar" with the firm's practice of collection and processing
      correspondence for mailing. Under that practice it would be deposited with the U.S. postal
   21 service on that same day with postage thereon fully prepaid at Los Angeles, CalifornIa in
      the ordinary course of business. I am aware that on motion of the party served, service is
   22 presumed invalid if postal cancellation date or postage meter date IS more than one day
      after date of deposit for mailing in affidavit.
   23         I declare that I am employed in the office of a member of the bar of this Court at
      whose direction the service was made. I declare under penalty of perjury under the laws of
   24 the United States of America that the foregoing is true and correct.                    .
   25           Executed on January 19, 2012, at Los Angeles, California.
   26
   27
                                                      atalie Aronstein .
   28

                                                    -1-
        W02-WEST:LRI\404504627.1                                             .   PROOF OF SERVICE
